                    Case 2:21-cv-00799-RSM                                     Document 482-1                        Filed 06/17/25                       Page 1 of 46
AO 133 (Rev. 07/24) Bill of Costs


                                                 UNITED STATES DISTRICT COURT
                                                                                             for the
                                                                                          District of
                                                                                                  )
                                                                                                  )
                                           v.                                                     )        Case No.:
                                                                                                  )
                                                                                                  )


                                                                                  BILL OF COSTS
Judgment having been entered in the above entitled action on                                                                      against                                                 ,
                                                                                                            Date
the Clerk is requested to tax the following as costs:

Fees of the Clerk . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            $

Fees for service of summons and subpoena . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Fees for printed or electronically recorded transcripts necessarily obtained for use in the case . . . . . .
Fees and disbursements for printing . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Fees for witnesses (itemize on page two) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Fees for exemplification and the costs of making copies of any materials where the copies are
necessarily obtained for use in the case. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

Docket fees under 28 U.S.C. § 1923 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Costs as shown on Mandate of Court of Appeals . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Compensation of court-appointed experts . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Compensation of interpreters and costs of special interpretation services under 28 U.S.C. § 1828 . . . .
Other costs (please itemize) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                                                                                TOTAL            $

SPECIAL NOTE: Attach to your bill an itemization and documentation for requested costs in all categories.


                                                                                         Declaration
          I declare under penalty of perjury that the foregoing costs are correct and were necessarily incurred in this action and that the
services for which fees have been charged were actually and necessarily performed. A copy of this bill has been served on all parties
in the following manner:
          ’         Electronic service                                     ’       First class mail, postage prepaid
          ’         Other:
              s/ Attorney:
                          Name of Attorney:
For:                                                                                                                                                     Date:
                                                             Name of Claiming Party

                                                                                   Taxation of Costs
Costs are taxed in the amount of                                                                                                                          and included in the judgment.

                                                                                   By:
                           Clerk of Court                                                                        Deputy Clerk                                             Date
                 Case 2:21-cv-00799-RSM                     Document 482-1                Filed 06/17/25               Page 2 of 46
AO 133 (Rev. 07/24) Bill of Costs
                                      UNITED STATES DISTRICT COURT
                                    Witness Fees (computation, cf. 28 U.S.C. § 1821 for statutory fees)
                                                                      ATTENDANCE           SUBSISTENCE              TRAVEL
                                                                                                                                         Total Cost
            NAME , CITY AND STATE OF RESIDENCE                                   Total               Total     Expenses/   Total        Each Witness
                                                                       Days      Cost      Days      Cost        Miles      Cost




                                                                                                                      TOTAL


                                                                        NOTICE

   Section 1924, Title 28, U.S. Code (effective September 1, 1948) provides:
   “Sec. 1924. Verification of bill of costs.”
       “Before any bill of costs is taxed, the party claiming any item of cost or disbursement shall attach thereto an affidavit, made by himself or by
   his duly authorized attorney or agent having knowledge of the facts, that such item is correct and has been necessarily incurred in the case and
   that the services for which fees have been charged were actually and necessarily performed.”

   See also Section 1920 of Title 28, which reads in part as follows:
       “A bill of costs shall be filed in the case and, upon allowance, included in the judgment or decree.”

   The Federal Rules of Civil Procedure contain the following provisions:
   RULE 54(d)(1)
   Costs Other than Attorneys’ Fees.
       Unless a federal statute, these rules, or a court order provides otherwise, costs — other than attorney’s fees — should be allowed to the
   prevailing party. But costs against the United States, its officers, and its agencies may be imposed only to the extent allowed by law. The clerk
   may tax costs on 14 days’ notice. On motion served within the next 7 days, the court may review the clerk’s action.

   RULE 6
   (d) Additional Time After Certain Kinds of Service. When a party may or must act within a specified time after being served and service is made
   under Rule 5(b)(2)(C) (mail), (D) (leaving with the clerk), or (F) (other means consented to), 3 days are added after the period would otherwise
   expire under Rule 6(a).
   RULE 58(e)
   Cost or Fee Awards:
        Ordinarily, the entry of judgment may not be delayed, nor the time for appeal extended, in order to tax costs or award fees. But if a
   timely motion for attorney's fees is made under Rule 54(d)(2), the court may act before a notice of appeal has been filed and become
   effective to order that the motion have the same effect under Federal Rule of Appellate Procedure 4(a)(4) as a timely motion under Rule 59.




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Case 2:21-cv-00799-RSM   Document 482-1   Filed 06/17/25   Page 3 of 46




      EXHIBIT A
     Case 2:21-cv-00799-RSM            Document 482-1         Filed 06/17/25      Page 4 of 46




                           Utherverse Gaming LLC v. Epic Games, Inc.
                                      No. 2:21-cv-00799-RSM
                                       Itemized Bill of Costs


Fees of the court reporter for all or any part of the transcript necessarily obtained for use in the
case

 Invoice No.              Transcript                Date                      Invoice Total
 6498018, 6541161         William Andrew            4/11/2023                 $4,520.90
 6501704, 6547381         Peter Axt                 4/12/2023                 $5,086.70
 6482613, 6513935         Brian Boyle               3/29/2023                 $3,109.00
 6498768, 6533955         Aaron Burch               4/11/2023                 $5,556.80
 6521204, 6533946         David Cohen               4/11/2023                 $3,441.40
 6632422, 6681793         David Crane               6/8/2023                  $6,351.00
 6520668, 6563611         Patrick Diaz              4/20/2023                 $4,910.45
 6619334, 6623222         Benjamin Ellinger         6/1/2023                  $3,956.95
 6635696, 6671834         Benjamin Ellinger         6/2/2023                  $1,802.60
 6495132, 6540219         Robert Flesch             4/10/2023                 $3,638.20
 6491847, 6538609         Mark Imbriaco             4/7/2023                  $6,385.60
 6616347, 6671954         Lauren Kindler            6/1/2023                  $5,274.85
 6620607, 6662144         Michele Riley             6/2/2023                  $7,409.05
 6610850, 6623514         Craig Rosenberg           5/30/2023                 $5,861.59
 6625599, 6674199         Ami Shah                  6/6/2023                  $2006.85
 6416503, 6492882         Brian Shuster             3/3/2023                  $4,193.30
 2023-148, 76907          Utherverse Digital,       6/2/2023                  $5,175.36
                          Inc.
 6486844, 6520435         Matthew Weissinger        3/31/2023                 $3,670.10
 20250810                 Trial Transcripts         05/12/2025-               $3,714.80
                                                    05/16/2025
 Subtotal                                                                     $86,065.50


Fees for exemplification and copies of papers necessarily obtained for use in the case

 Invoice No.              Description               Date                      Amount
 44139                    Preparation and           4/30/2025                 $1,286.70
                          stamping of trial
                          exhibits
 Subtotal                                                                                  $1,286.70




Grand Total: $87,352.20
                           Case 2:21-cv-00799-RSM                            Document 482-1                    Filed 06/17/25               Page 5 of 46


         Veritext, LLC - California Region
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         Fed. Tax ID:
                                                                                                                      VE RITEXT
                                                                                                                           ~ LE GAL SOLUTIONS




         Bill To: Katherine McNutt                                                                                                               Invoice #:                6498018
                     Morrison & Foerster LLP
                                                                                                                                            Invoice Date:                 4/14/2023
                     425 Market St
                     San Francisco, CA, 94105                                                                                               Balance Due:                  $3,349.65



         Case: Utherverse Gaming LLC v. Epic Games, Inc (2:21-cv-00799-RSM-TLF)                                                               Proceeding Type: Depositions

        Job #: 5814815         |   Job Date: 4/11/2023 | Delivery: Daily                                                Client Matter #:                          27772-0000001
        Location:                  Atlanta, GA
        Billing Atty:              Katherine McNutt
        Scheduling Atty:           Katherine McNutt | Morrison & Foerster LLP

         Witness: William H. Andrew                                                                                           Quantity                   Price              Amount

                    Transcript Services - Original Transcript(s)                                                                 173.00                  $9.30            $1,608.90

                    Attendance                                                                                                      1.00              $370.00               $370.00

                    Exhibits                                                                                                     163.00                  $0.30                $48.90

                    Exhibit Share                                                                                                   1.00              $345.00               $345.00

                    Realtime Services                                                                                            173.00                  $1.85              $320.05

                    Rough Draft                                                                                                  173.00                  $1.60              $276.80

                    Premium Litigation Package (SBF,PTZ,LEF)                                                                        1.00                $35.00                $35.00

                    Veritext Virtual Primary Participants                                                                           1.00              $295.00               $295.00

                    Hosting & Delivery of Encrypted Files                                                                           1.00                $50.00                $50.00

         Notes:       Daily                                                                                                                   Invoice Total:              $3,349.65
                     In Person Reporter                                                                                                            Payment:                    $0.00
                                                                                                                                                       Credit:                 $0.00
                                                                                                                                                     Interest:                 $0.00
                                                                                                                                              Balance Due:                $3,349.65
         TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
         including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
         please consult http://www.veritext.com/services/all-services/services-information




        Remit to:                                              Pay By ACH (Include invoice numbers):                                           Invoice #: 6498018
        Veritext                                                         A/C Name:Veritext                                                 Invoice Date: 4/14/2023
        P.O. Box 71303                                              Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                 Bank Addr:311 W. Monroe Chicago, IL 60606                                  Balance Due: $3,349.65
        Fed. Tax ID:                                            Account No:         ABA:071000288
                                                                         Swift: HATRUS44
                                                                    Pay by Credit Card: www.veritext.com


42759
                   Case 2:21-cv-00799-RSM                                   Document 482-1                          Filed 06/17/25                    Page 6 of 46




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         Fed . Tax ID:
                                                                                                                         VERITEXT
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         Bill T o: Katherine McNutt                                                                                                                  Invoice #:                 6541161
                   Morrison & Foerster LLP                                                                                                      Invoice Date:                   5,'5,'2023
                   425 Mar1<et St
                   San Francisco, CA, 94105                                                                                                     Balance Due:                  $1,17L25


        ICase: UtherverseGarring LLC v. Epic Games, Inc (2:21-cv-00799-RSM-TLF)                                                                  Proceeding Type: Deposil:ioos I
        Job#: 5814815               Job Date: 4/11/2023          I Delivery: Nom1al                                         Client Matter#:                            27772-0000001
        Location:                  Atlanta, GA
        Billing Atty:              Katherine McNutt
        Scheduling Atty:           Katherine McNutt I Morrison & Foerster LLP

        IWitness: William H. Andrew                                                                                              Quaraty                      Price

                   IVideo - Services                                                                                                   5.75               $195.00             $1,121.25

                    Video - Electronic Access                                                                                          1.00                 $50.00                $50.00

         Notes:        In Person Videographer                                                                                                     Invoice Total:              $l.17L2S
                                                                                                                                                        Payment:                    $0.00
                                                                                                                                                           Credit:                  $0.00
                                                                                                                                                         lrterest:                  $0.00
                                                                                                                                                  Balance Due:                $1,17L25
         TERMS: Payable upon receipt. Accourts 30 days past due will bear a finance charge of 1.5% per rrorth. Accounts unpaid after 90 days agree to pay all collection costs,
         including reasor.ible attorrey's fees. Contact us to correct payrrent errors. No adjustrrents ,.;11 be rrode after 90 days. For more information on charges related to our services
         please consult ttJ.p://www.veritext.co,n'services/al~services/services-irlorrnation




        Remtto:                                                  Pay By ACH (Include invoice nurmers):                                             Invoice # : 6541161
        Veritext                                                           A/C Name:Veritext
                                                                                                                                              Invoice Date: 5'512023
        P .0 . Box 71303                                              Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                   Bank.Addr:311 W. Monroe C hicago, IL 60606                                    Balance Due: $1,171.25
        Fed. T ax ID:                                             Account No:         ABA:071000288
                                                                           Swift: HATR US44
                                                                      Pay by Credit Card: www.veritext.com


42i59
                  Case 2:21-cv-00799-RSM                                    Document 482-1                         Filed 06/17/25                    Page 7 of 46




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         Fed. Tax ID:
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         Bill T o: Bethany D. Bengfort Esq.                                                                                                         Invoice #:                 6501704
                   Morrison & Foerster LLP
                                                                                                                                                 Invoice Date:               4/14/2023
                   425 Mar1<et St
                   San Francisco, CA, 94105                                                                                                      Balance Due:                $4,266.70


        ICase: UtherverseGarring LLC v. Epic Games, Inc (2:21-cv-00799-RSM-TLF)                                                                   Proceeding Type: Deposil:ioos I

        Job#: 5860408              Job Date: 4/12/2023           I Delivery: Daily                                                  Billing #:                        27772-0000001
        Location:                 Seattle, WA
        Billing Atty:             Bethany D. Bengfort Esq.
        Scheduling Atty:          Colby Springer I Polsinelli PC

        IWitness: Peter Axt 30(b)(6J                                                                                            Quaraty                      Price             Amo\rll I
                  I T ranscript Services - Certified Transcript                                                                    402.00                   $6.80            $2,733.60

                    Exhibits                                                                                                       204.00                   $0.30                $61.20

                    Realtime Services                                                                                              402.00                   $1.85               $743.70

                    Rough Draft                                                                                                    402.00                   $1.60               $643.20

                    Prerrium Litigation Package (S BF ,PTZ,LEF )                                                                       1.00                $35.00                $35.00

                   I Hosting & Delivery of Encrypted Files                                                                             1.00                $50.00                $50.00

         Notes:       Daily                                                                                                                       Invoice Total:             $4,266.70
                                                                                                                                                       Payn.-.t:                   $0.00
                                                                                                                                                          Credit:                  $0.00
                                                                                                                                                        ln:erest:                  $0.00
                                                                                                                                                   Balance Due:               $4,266.70
         TERMS:      Payatle L.pOn receipt. Accourts 30 days past due will bear a finance charge of 1.5% per rmrth. Accounts unpaid after 90 days agree to pay all collection costs,
         Including reasoncble attorreys fees. contact us to c□1Tect payrrent e1TOrs. No adjustrrents \\All be ITl3de after 90 days. For more Information on charges related to our services
         please consult ~p://www.ver1text.co,n'services1al~services/services-ir/ormation




        Remtto:                                                    Pay By ACH (Include invoice nurmers):                                         Invoice#: 6501704
        Veritext                                                            A/C Name:Veritext                                                 Invoice Date: 4/14/2023
        P.0 . Box 71303                                               Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                   Bank.Addr:311 W. Monroe C hicago, IL 60606                                    Balance Due: $4,266.70
        Fed. T ax ID:                                             Account No:         ABA:07100028 8
                                                                           Swift: HATRUS44
                                                                      Pay by Credit Card: www.veritext.com



42i59
                   Case 2:21-cv-00799-RSM                                   Document 482-1                          Filed 06/17/25                    Page 8 of 46




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         Bill To: Bethany D. Bengfort Esq.                                                                                                           Invoice #:                 6547381
                  Morrison & Foerster LLP                                                                                                       Invoice Date:                   5,'4/2023
                  425 Mar1<et St
                  San Francisco, CA, 94105                                                                                                      Balance Due:                     $820.00


        ICase: UtherverseGarring LLC v. Epic Games, Inc (2:21-cv-00799-RSM-TLF)                                                                  Proceeding Type: Deposil:ioos I
        Job#: 5860408               Job Date: 4/12/2023          I Delivery: Nom1al                                                  Billing#:                         27772-0000001
        Location:                  Seattle, WA
        Billing Atty:              Bethany D. Bengfort Esq.
        Scheduling Atty:           Colby Springer I Polsinelli PC

        IWitness: Peter Axt 3llb6                                                                                                Quaraty                      Price

                   IVideo - Electronic Access                                                                                          1.00                 $50.00                $50.00

                    Video - Digitizing & Transcript Synchronization                                                                    7.00               $110.00                $770.00

         Notes:                                                                                                                                   Invoice Total:                 $820.00
                                                                                                                                                        Payment:                    $0.00
                                                                                                                                                           Credit:                  $0.00
                                                                                                                                                         lrterest:                  $0.00
                                                                                                                                                  Balance Due:                   $820.00
         TERMS: Payable upon receipt. Accourts 30 days past due will bear a finance charge of 1.5% per rrorth. Accounts unpaid after 90 days agree to pay all collection costs,
         including reasor.ible attorrey's fees. Contact us to correct payrrent errors. No adjustrrents ,.;11 be rrode after 90 days. For more information on charges related to our services
         please consult ttJ.p://www.veritext.co,n'services/al~services/services-irlorrnation




        Remtto:                                                  Pay By ACH (Include invoice nurmers):                                             Invoice #: 6547381
        Veritext                                                           A/C Name:Veritext
                                                                                                                                              Invoice Date: 5'4/2023
        P .0 . Box 71303                                              Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                   Bank.Addr:311 W. Monroe C hicago, IL 60606                                   Balance Due: $820.00
        Fed. Tax ID:                                              Account No:         ABA:071000288
                                                                           Swift: HATR US44
                                                                      Pay by Credit Card: www.veritext.com


42i59
                  Case 2:21-cv-00799-RSM                                   Document 482-1                         Filed 06/17/25                    Page 9 of 46




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         Fed. Tax ID:
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         Bill To: Eric C. Wiener Esq.                                                                                                             Invoice #:                 6482613
                  Morrison & Foerster LLP                                                                                                     Invoice Date:                 4/19/2023
                  425 Mar1<et St
                  San Francisco, CA, 94105                                                                                                   Balance Due:                   $2,399.00



        ICase: UtherverseGarring LLC v. Epic Games, Inc (2:21-cv-00799-RSM-TLF)                                                                Proceeding Type: Deposil:ioos I
        Job#: 5819438              Job Date: 3/29/2023          I Delivery: Expedited                                     Client Matter#:                           27772-0000001
        Location:                 Raleigh, NC
        Billing Atty:             Eric C. Wiener Esq.
        Scheduling Atty:          Mark T. Deming Esq I Polsinelli PC

        IWitness: Brian Boyle                                                                                                  Quaraty                     Price             Amo\rll I
                   ITranscript Services - Certified Transcript                                                                    260.00                   $5.45            $1,417.00

                    Realtime Services                                                                                             260.00                   $1.85              $481.00

                    Rough Draft                                                                                                   260.00                   $1.60              $416.00

                    Prerrium Litigation Package (SBF,PTZ,LEF )                                                                       1.00                $35.00                 $35.00

                    Hosting & Delivery of Encrypted Files                                                                            1.00                $50.00                 $50.00

         Notes:        Expedited 5 Days                                                                                                        Invoice Total:               $2,399.00
                                                                                                                                                     Payment:                    $0.00
                       Client Matter No.: 27772-0000001
                                                                                                                                                         Credit:                 $0.00
                                                                                                                                                       lrterest:                 $0.00
                                                                                                                                                Balance Dua:                $2,399.00
         TERMS: Payatle upon receipt. Accourts 30 days past due will bear a finance charge of 1.5% per rrorth. Accounts unpaid after 90 days agree to pay all collection costs,
         including reasonoble ottomey's fees. Contact us to correct payment errors. No adjustments will be rr1:1de after 90 days. For more information on charges related to our services
         please consult trtf.p://www.veritext.corn'services/al~services/services-iriormation




        Remtto:                                                 Pay By ACH (Include invoice nurmers):                                          Invoice #: 6482613
        Veritext                                                          A/C Name:Veritext
                                                                                                                                            Invoice Date: 4/19/2023
        P .0 . Box 71303                                             Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                  Bank.Addr:311 W. Monroe C hicago, IL 60606                                   Balance Due: $2,399.00
        Fed. Tax ID:                                             Account No:         ABA:071000288
                                                                          Swift: HATR US44
                                                                     Pay by Credit Card: www.veritext.com


42i59
                 Case 2:21-cv-00799-RSM                                    Document 482-1                         Filed 06/17/25                     Page 10 of 46




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         Bill To: Eric C. Wiener Esq.                                                                                                                Invoice #:                 6513935
                  Morrison & Foerster LLP                                                                                                       Invoice Date:                 4/24/2023
                  425 Mar1<et St
                  San Francisco, CA, 94105                                                                                                      Balance Due:                     $710.00


        ICase: UtherverseGarring LLC v. Epic Games, Inc (2:21-cv-00799-RSM-TLF)                                                                  Proceeding Type: Deposil:ioos I
        Job#: 5819438               Job Date: 3/29/2023          I Delivery: Nom1al                                         Client Matter#:                            27772-0000001
        Location:                  Raleigh, NC
        Billing Atty:              Eric C. Wiener Esq.
        Scheduling Atty:           Mark T. Deming Esq I Polsinelli PC

        IWitness: Brian Boyle                                                                                                    Quaraty                      Price

                   IVideo - Electronic Access                                                                                          1.00                 $50.00                $50.00

                    Video - Digitizing & Transcript Synchronization                                                                    6.00               $110.00                $660.00

         Notes:                                                                                                                                   Invoice Total:                 $710.00
                                                                                                                                                        Payment:                    $0.00
                                                                                                                                                           Credit:                  $0.00
                                                                                                                                                         lrterest:                  $0.00
                                                                                                                                                  Balance Due:                   $710.00
         TERMS: Payable upon receipt. Accourts 30 days past due will bear a finance charge of 1.5% per rrorth. Accounts unpaid after 90 days agree to pay all collection costs,
         including reasor.ible attorrey's fees. Contact us to correct payrrent errors. No adjustrrents ,.;11 be rrode after 90 days. For more information on charges related to our services
         please consult ttJ.p://www.veritext.co,n'services/al~services/services-irlorrnation




        Remtto:                                                  Pay By ACH (Include invoice nurmers):                                             Invoice #: 6513935
        Veritext                                                           A/C Name:Veritext
                                                                                                                                              Invoice Date: 4/24/2023
        P.0 . Box 71303                                               Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                   Bank.Addr:311 W. Monroe C hicago, IL 60606                                    Balance Due: $710.00
        Fed. Tax ID:                                              Account No:         ABA:071000288
                                                                           Swift: HATR US44
                                                                      Pay by Credit Card: www.veritext.com


42i59
                  Case 2:21-cv-00799-RSM                                       Document 482-1                    Filed 06/17/25                     Page 11 of 46




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          Fed. Tax ID:
                                                                                                                       VERITEXT
                                                                                                                             ~ LEGAL SOLUTIONS




          Bill To: Mattaeus Martino-Weinhardt Esq.                                                                                                  Invoice #:               6498768
                   Momson & Foerster LLP
                                                                                                                                              Invoice Date:                 4/1412023
                   425 Market Sl
                   San Francisco, CA, 94105                                                                                                   Balance Due:                  $4,106.80


         ICase: Utherverse Gaming LLC v. Epic Games, Inc (2:21-cv-00799-RSM-TLF)                                                               Proceeding Type: Depositions                 I
         Job #: 5844142               Job Date: 4/11/2023            I Delivery: Daily                                    Client Matter #:                          27772-0000001
          Location:                  Los Angeles, CA
          Billing Atty:              Mattaeus Martino-Wei1hardt Esq.
          Scheduling Atty:           Mattaeus Martino-Wei1hardt Esq. I Morrison & Foerster LLP

         IWitness: Aaron Burch                                                                                                 Quanity                     Price              Amount

                      Transcript Services - Original Transcript(s)                                                                248.00                   $9.30            $2,306.40
                      Attendance                                                                                                      1.00              $200.00               $200.00

                      Exhibits                                                                                                      66.00                  $0.30                $19.80

                      Exhibit Share                                                                                                   1.00              $345.00               $345.00

                      Realtirre Services                                                                                          248.00                   $1.85              $458.80

                      Rough Draft                                                                                                 248.00                   $1.60              $396.80
                      Premum Litigation Package (SBF,PTZ,LEF)                                                                         1.00                $35.00                $35.00
                                                                                                                                                -                       -
                      Veritext Virtual Primary Participants                                                                           1.00              $295.00               $295.00
                                                                                                                                                -                       -
                      Hosting & Delivery of Encrypted Files                                                                           1.00               $50.00                 $50.00

          Notes:        Daily                                                                                                                   Invoice Total:              $4,106.80
                                                                                                                                                     Payment:                    $0.00
                                                                                                                                                         Credit:                 $0.00
                                                                                                                                                       Interest:                 $0.00
                                                                                                                                                Balcn:e Due:                $4,106.80
          TERMS: Payable upon receiµ. Accounls 30 days pasl due will bear a finance charge of 1.5% per rrunl. h. Accounts c11paid afler 90 days agree lo pay all collection costs,
          including reasonable attorney's fees. Cortact us to correct puyment errors. No c1djustrrenl5 will be rrode after 90 days. For rmre lnfommion on ch~rges related to our seruices
          please consult http://1w.v1.veritext.corr/sef1Jices/all-services/seruices-inforrretion




         Remtto:                                                       Pay By ACH {Include invoice nuni>ers):                                    Invoice #: 6498768
         Veritext                                                               A/C Name:Veritext                                          Invoice Date: 4,114{2023
         P.0. Box 71303                                                   Bank Name:BMO Harris Bank
         Chicago IL 60694-1303                                      Bank Addr:311 W. Monroe Chicago, IL 60606                              Balance Due: $4,106.80
         Fed. Tax ID:                                                 Account No:         ABA:071000288
                                                                               Swift: HATRUS44
                                                                          Pay by Credit Card: www.veritext.com


·12759
                 Case 2:21-cv-00799-RSM                                    Document 482-1                         Filed 06/17/25                     Page 12 of 46




         Veritext, LLC - California Region
         Tel. 877-955-3855 Ermil: calendar-sf@veritext.com
         Fed. Tax ID:
                                                                                                                         VERITEXT
                                                                                                                               ~ LEGAL SOLUTIONS




         Bill To: Matthaeus Martino-Weinhardt Esq.                                                                                                   Invoice #:                 6533955
                  Morrison & Foerster LLP
                                                                                                                                                Invoice Date:                 4/2812023
                  425 Mar1<et St
                  San Francisco, CA, 94105                                                                                                      Balance Due:                  $1,450.00



        ICase: UtherverseGarring LLC v. Epic Games, Inc (2:21-cv-00799-RSM-TLF)                                                                  Proceeding Type: Deposil:ioos I
        Job#: 5844142               Job Date: 4/11/2023          I Delivery: Nom1al                                         Client Matter#:                            27772-0000001
        Location:                  Los Angeles, CA
        Billing Atty:              Matthaeus Martino-Weinhardt Esq.
        Scheduling Atty:           Matthaeus Martino-Weinhardt Esq. I Morrison & Foerster LLP

        IWitness: Aaron Burch                                                                                                    Quaraty                      Price

                   IVideo - Services                                                                                                   8.00               $175.00             $1,400.00

                    Video - Electronic Access                                                                                          1.00                 $50.00                $50.00

         Notes:        Remote Videographer                                                                                                        Invoice Total:              $1.450.00
                                                                                                                                                        Payment:                    $0.00
                                                                                                                                                           Credit:                  $0.00
                                                                                                                                                         lrterest:                  $0.00
                                                                                                                                                  Balance Due:                $1,450.00
         TERMS: Payable upon receipt. Accourts 30 days past due will bear a finance charge of 1.5% per rrorth. Accounts unpaid after 90 days agree to pay all collection costs,
         including reasor.ible attorrey's fees. Contact us to correct payrrent errors. No adjustrrents ,.;11 be rrode after 90 days. For more information on charges related to our services
         please consult ttJ.p://www.veritext.co,n'services/al~services/services-irlorrnation




        Remtto:                                                  Pay By ACH (Include invoice nurmers):                                             Invoice #: 6533955
        Veritext                                                           A/C Name:Veritext
                                                                                                                                              Invoice Date: 4/28'2023
        P.0 . Box 71303                                               Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                   Bank.Addr:311 W. Monroe Chicago, IL 60606                                     Balance Due: $1,450.00
        Fed. Tax ID:                                              Account No:         ABA:071000288
                                                                           Swift: HATRUS44
                                                                      Pay by Credit Card: www.veritext.com


42i59
                  Case 2:21-cv-00799-RSM                                   Document 482-1                         Filed 06/17/25                    Page 13 of 46




          Veritext, LLC - California Region
          Tel. 877-955-3855 Email: calendar-sf@veritext.com
          Fed. Tax ID:
                                                                                                                         VERITEXT
                                                                                                                               ~ LEGAL SOLUTIONS




          Bill T o: Eugene Novikov Esq.                                                                                                             Invoice #:                 6521204
                      Momson & Foerster LLP
                                                                                                                                               Invoice Date:                  4125/'2023
                      425 Market Sl
                      San Francisco, CA, 94105                                                                                                 Balance Due:                   $2,194.40



         ICase: Utherverse Gaming LLC v. Epic Games, Inc (2:21-cv-00799-RSM-TLF)                                                                 Proceeding Type: Depositions                 I
         Job #: 5810761              Job Date: 4/11/2023         I Delivery: Nonna I                                        Client Matter #:                          27772-0000001
          Location:                New York, NY
          Billing Atty:            Eugene Novikov Esq.
          Scheduling Atty:         Eugene Novikov Esq. I Monison & Foerster LLP

         IWitness: David L Cohen 30(8)(6)                                                                                        Quanity                     Price             Amount

                      Transcript Services - Original Transcript(s)                                                                  207.00                   $4.65              $962.55

                      Attendance                                                                                                       1.00              $370.00                $370.00

                      Exhibits                                                                                                      209.00                   $0.30                $62.70

                      Realtime Services                                                                                             207.00                   $1.85              $382.95

                      Rough Draft                                                                                                   207.00                   $1.60              $331.20

                      Premum Litigation Package (S BF,PTZ,LEF)                                                                         1.00                535.00                 $35.00

                      Hosting & Delivery of Encrypted Files                                                                            1.00                $50.00                 $50.00

          Notes:       In Person Reporter                                                                                                        Invoice Total:               $2,194.40
                                                                                                                                                       Payment:                    $0.00
                                                                                                                                                           Credi:                  $0.00
                                                                                                                                                        Interest:                  $0.00
                                                                                                                                                 Balance Due:                 $2,194.40
          TERMS: Payable upon receipt. Accounts 30 days past due will bear a 'inance charge of 1.5% per month. Accounts Lnpaid after 90 days agree to pay all collection costs,
          including reasonable attorney's fees. Cortact us to correct paym2nt errors. No adjustrrent:s will be made after 90 days. For rrore information on charges related to our services
          please consult http://www.vetitext.co1r/services/all-services/services-infom--ation




         Remtto:                                                 Pay By ACH {Include invoice nuni>ers):                                           Invoice #: 6521204
         Veritext                                                          A/C Name:Veritext                                                  Invoice Date: 412512023
         P .0. Box 71303                                              Bank Name:BMO Harris Bank
         Chicago IL 60694-1303                                  Bank Addr:311 W. Monroe Chicago, IL 60606                                    Balance Due: $2,194.40
         Fed. Tax ID:                                             Account No          ABA:071000288
                                                                           Swift: HATRUS44
                                                                       Pay by Credit Card : www.veritext.com


·12759
                 Case 2:21-cv-00799-RSM                                    Document 482-1                         Filed 06/17/25                      Page 14 of 46




         Veritext, LLC - California Region
         Tel. 877-955-3855 Ermil: calendar-sf@veritext.com
         Fed. Tax ID:
                                                                                                                        VERITEXT
                                                                                                                              ~ LEGAL SOLUTIONS




         Bill To: Eugene Novikov Esq.                                                                                                                 Invoice #:               6533946
                     Morrison & Foerster LLP
                                                                                                                                               Invoice Date:                  5/2312023
                     425 Mar1<et St
                     San Francisco, CA, 94105                                                                                                  Balance Due:                   $1,247.00


         Case: UtherverseGarring LLC v. Epic Games, Inc (2:21-cv-00799-RSM-
         TLF)                                                                                                                                   Proceeding Type: Depositions

        J ob #: 5810761             Job Date: 4/11/ 2023         I Delivery: NonT\'3I                                                             Client Matter #: 27772-0000001

        Location:                  New Yori<, NY
        Billing Atty:              Eugene Novikov Esq.
        Scheduling Atty:           Eugene Novikov Esq. I Monison & Foerster LLP

        IWitness: David L Cohen 30(B)(6)                                                                                        Quantity                     Price

                    Video - Services                                                                                                   6.00              $195.00              $1,170.00
                                                                                                                                                  -                                  ----'
                    Video - Electronic Access                                                                                          1.00                $50.00                 $50.00
                                                                                                                                                  -                       -
                     Expenses (Out of Pocket)                                                                                          1.00                $27.00                 $27.00

         Notes:      In Person Videographer                                                                                                      Invoice Total:               $1,247.00
                     Expenses- Parking                                                                                                                  Payment:                   $0.00
                                                                                                                                                           Credit:                 $0.00
                                                                                                                                                         I..erest:                 $0.00
                                                                                                                                                 Balance Due:                 $1,247.00
         T ERMS: Payable ~n receipt Accourts 30 days past due will bear a finance charge of 1.5% per rrorth. Accounts unpaid after90 clays agree to pay all collection costs,
         including reasoncble attorney's fees. Contact us to correct payment errors. No adjustments ..,;11 be rrade after 90 days. For rrore information on charges related to our services
         please consult tmp:i/www.veritext.corntservices/al~services/services-iriorrnation




        Remtto:                                                  Pay By ACH (Include invoice nurmers):                                            Invoice #: 6533946
        Veritext                                                           A/C Name:Veritext
                                                                                                                                              Invoice Date: 5{23/2023
        P.0 . Box 71303                                               Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                   Bank.Addr:311 W. Monroe Chicago, IL 60606                                     Balance Due: $1,247.00
        Fed. Tax ID:                                              Account No:         ABA:071000288
                                                                           Swift: HATRUS44
                                                                      Pay by Credit Card: www.veritext.com


42i59
                  Case 2:21-cv-00799-RSM                                   Document 482-1                         Filed 06/17/25                    Page 15 of 46




          Veritext, LLC - California Region
          T el. 877-955-3855 E mail: calendar-sf@veritext.com
          Fed. T ax ID:
                                                                                                                        VERITEXT
                                                                                                                              ~ LEGAL SOLUTIONS




          Bill T o: Tim C. Saulsbury                                                                                                               Invoice #:                 6632422
                    Momson & Foerster LLP                                                                                                     Invoice Date:                 6{2]/2023
                    425 Market Sl
                    San Francisco, CA, 94105                                                                                                  Balance Due:                  $4,358.25


          Case: Utherverse Ganlng LLC v. Epic Games, Inc (2:21-cv-00799-RSM-                                                                   Proceecing Type: Depositions
          TLF)
         Job #: 5943418             Job Date: 6/8/2023 I Delivery: Daily                                                                                   Client Matter#: 27772-1
          Location:                San Francisco, CA                                                                                                         Ref #: 27772-0000001
          Billing Atty:            Tim C. Saulsbury
          Scheduling Atty:         Tim C. Saulsbury I Morrison & Foerster LLP

         IWitness: David Crane                                                                                                  Quanity                     Price             Amount

                      Transcript Services - Original Transcript(s)                                                                 257.00                   $9.30           $2.390.10

                      Rough Draft                                                                                                  257.00                   $1.60              $411.20

                      Realtime Services                                                                                            257.00                   $1.85              $475.45

                      Attendance                                                                                                      2.00               $185.00               $370.00

                      Exhibits                                                                                                     605.00                   $0.30              $181.50

                      Premum Litigation Package (SBF,PTZ,LEF)                                                                         1.00                S35.00                 $35.00

                      Veritext Virtual Primary Participants                                                                           1.00               $295.00               $295.00

                      Equipment Rental                                                                                                2.00                S75.00               $150.00

                      Hosting & Delivery of Encrypted Files                                                                           1.00                S50.00                 $50.00

          Notes:       Daily                                                                                                                    l1111oice Total:            $4,358.25
                      In Person reporter                                                                                                              Payment:                    $0.00
                                                                                                                                                          Credit:                 $0.00
                                                                                                                                                        Interest:                 $0.00
                                                                                                                                                 Balance Due:               $4,358.25
          TERMS: Payable upon receirt. Accounts 30 days past due will bear a ' inance charge of 1.5% per m:,nth. Accounts cnpaid after 90 days agree to pay all collection costs,
          including reasonable attorney's fees. Cor1act us lo correct payrrent errors. No adjustrrents will be made a~er 90 days. For rroie infonrmio11 on charges related to our services
          please consult http://w,w1.veritext.corr/ser,,ices.l all-services/services-inform,tion



         Remtto:                                                 Pay By ACH {Include invoice nuni>ers):                                          Invoice #: 6632422
         Veritext                                                          A/C Name:Veritext                                                 Invoice Date: &'21/2023
         P.0. Box 71303                                               Bank Name:BMO Harris Bank
         Chicago IL 60694-1303                                  Bank Addr:311 W. Monroe Chicago, IL 60606                                   Balance Due: $4,358.25
         Fed. Tax ID:                                             Account No:         ABA:071000288
                                                                           Swift: HATRUS44
                                                                      Pay by Credit Card : www.veritext.com


·12759
                 Case 2:21-cv-00799-RSM                                  Document 482-1                        Filed 06/17/25                      Page 16 of 46




         Veritext, LLC - California Region
         Tel. 877-955-3855 Errnil: calendar-sf@veritext.com
         Fed. Tax ID:
                                                                                                                      VERITEXT
                                                                                                                           ~ LEGAL SOLUTIONS




         Bill T o: TimC. Saulsbury                                                                                                                 Invoice#:               6681793
                   Morrison & Foerster LLP                                                                                                  Invoice Date:                 6'3)/2023
                   425 Market St
                   San Francisco, CA, 94105                                                                                                 Balance Due:                  $1,992.75


         Case: Utherverse Galling LLC v. Epic Games, Inc (2:21-cv-00799-RSM-
         TLF)                                                                                                                                Proceeding Type: Depositions

        Job #: 5943418             Job Date: 6/8/2023         I Delivery: Nonnal                                                                         Client Matter #: 27772-1
        Location:                 San Francisco, CA                                                                                                        Ref#: 27772-0000001
        Billing Atty:            Tim C. Saulsbury
        Scheduling Atty:          Tim C. Saulsbury I Morrison & Foerster LLP

         Witness: David Crane                                                                                                 QuarDty                    Price             Amount

                    Video - Services                                                                                                9.75              $195.00             $1,901.25
                                                                                                                                               -
                    Video - Electronic Access                                                                                       1.00                $50.00                $50.00
                                                                                                                                               -                      -
                    Expenses (Out of Pocket)                                                                                        1.00                $41.50                $41.50

         Notes:      In Person Videographer                                                                                                   lnvok:e Total:              $1.992.75
                     Expenses - Parking                                                                                                             Payment:                   $0.00
                                                                                                                                                       Credit:                 $0.00
                                                                                                                                                     ln:erest:                 $0.00
                                                                                                                                              Balance Due:                $1.992.75
         TERMS:      Payatje tµin receipt. AccourLS 30 days past due will bear a finance charge of 1.5% per rmrth. Accounts unpaid after90 days agree to pay all collectlon costs.
         including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
         please consult http://www.ventext.corn'services/all-services/services-information




        Remtto:                                                  Pay By ACH (Include invoice nurmers):                                         Invoice #: 6681793
        Veritext                                                          A/C Name:Veritext
                                                                                                                                           Invoice Date: 6130/2023
        P.O . Box 71303                                                   Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                 Bank Addr.311 W. Monroe Chicago, IL 60606                                    Balance Due: $1,992.75
        Fed. Tax ID:                                            Account No:         ABA:071000288
                                                                                  Swift: HATRUS44
                                                                    Pay by Credit Card: www.veritext.com


42759
                  Case 2:21-cv-00799-RSM                                   Document 482-1                        Filed 06/17/25                     Page 17 of 46




          Veritext, LLC - California Region
          T el. 8 77-955-3855 E mail: calendar-sf@veritext.com
          Fed. T ax ID:
                                                                                                                       VERITEXT
                                                                                                                             ~ LEGAL SOLUTIONS




          Bill T o: Weizhi {Stella) Mao                                                                                                             Invoice #:               6520668
                      Momson & Foerster LLP
                                                                                                                                              Invoice Date:                 4127/2023
                      755 Page Mill Road
                      Palo Alto, CA, 94304                                                                                                    Balance Due:                  $3,495.45



         ICase: Utherverse Gaming LLC v. Epic Games, Inc (2:21-cv-00799-RSM-TLF)                                                               Proceeding Type: Depositions                 I
         Job #: 5810744             Job Date: 4/20/2023          I Delivery: Daily                                        Client Matter #:                          27772-0000001
          Location:                Reno, NV
          Billing Atty:            Weizhi (Stella) Mao
          Scheduling Atty:         Weizhi (Stella) Mao I Monison & Foerster LLP

         IWitness: Patrick Diaz                                                                                                Quanity                     Price              Amount

                      Transcript Services - Original Transcript(s)                                                                213.00                   $9.30            $1,980.90

                      Attendance                                                                                                      1.00              $370.00               $370.00

                      Exhibits                                                                                                      99.00                  $0.30                $29.70

                      Realtime Services                                                                                           213.00                   $1.85              $394.05

                      Rough Draft                                                                                                 213.00                   $1.60              $340.80

                      Premum Litigation Package (S BF,PTZ,LEF)                                                                        1.00               535.00                 $35.00

                      Veritext Virtual Primary Participants                                                                           1.00              $295.00               $295.00
                                                                                                                                                -
                      Hosting & Delivery of Encrypted Files                                                                           1.00               550.00                 $50.00

          Notes:       Daily Expedited                                                                                                          Invoice Total:              $3,495.45
                      In Person Reporter                                                                                                              Payment:                   $0.00
                                                                                                                                                         Credit:                 $0.00
                                                                                                                                                       Interest:                 $0.00
                                                                                                                                                BalSICeDue:                 $3,495.45
          TERMS: Poy·n ble upon receipt. Accounts 30 days PJSt due wlll benr a ' lnance charge of 1.5% per rnonch. Accounts Lnp" ld ;;fter 90 ooys agree to pay all collection costs.
          including reasonable attorney's fees. Cortact us to correct payment error, No adjustments will be made after 90 days. For rrore inforrna:ion on charges related to our services
          please consult http://w<Nw.veritext.corr/serviceslall-services/services-inforrnation




         Remtto:                                                 Pay By ACH {Include invoice nuni>ers):                                          Invoice #: 6520668
         Veritext                                                          A/C Name:Veritext                                                 Invoice Date: 4/Z7/ 2fJ23
         P.0. Box 71303                                               Bank Name:BMO Harris Bank
         Chicago IL 60694-1303                                  Bank Addr:311 W. Monroe Chicago, IL 60606                                  Balance Due: $3,495.45
         Fed. Tax ID:                                             Account No:         ABA:071000288
                                                                           Swift: HATRUS44
                                                                      Pay by Credit Card : www.veritext.com


-12759
                  Case 2:21-cv-00799-RSM                                  Document 482-1                         Filed 06/17/25                     Page 18 of 46




         Veritext, LLC - California Region
         Tel. 877-955-3855 Ermil: calendar-sf@veritext.com
         Fed. Tax ID:
                                                                                                                       VERITEXT
                                                                                                                             ~ LEGAL SOLUTIONS




         Bill To: Weizhi (Stella) Mao                                                                                                               Invoice #:               6563611
                     Morrison & Foerster LLP
                                                                                                                                              Invoice Date:                 5/26/2023
                     425 Mar1<et St
                     San Francisco, CA, 94105                                                                                                Balance Due:                   $1,415.00


         Case: UtherverseGarring LLC v. Epic Games, Inc (2:21-cv-00799-RSM-
         TLF)                                                                                                                                  Proceeding Type: Depositions

        J ob #: 5810744            Job Date: 4/20/2023          I Delivery: NonT\'31                                                            Client Matter #: 27772-0000001
        Location:                 Reno, NV
        Billing Atty:             Weizhi (Stella) Mao
        Scheduling Atty:          Weizhi (Stella) Mao I Morrison & Foerster LLP

        IWitness: Palrick Diaz                                                                                                 Quantity                    Price

                    Video - Services                                                                                                 7.00               $195.00             $1,365.00
                                                                                                                                                -                                  ----'
                    Video - Electronic Access                                                                                        1.00                $50.00                 $50.00

         Notes:       In-person videographer                                                                                                   Invoice Total:               $1,.415.00
                                                                                                                                                      Payment:                   $0.00
                                                                                                                                                         Credit:                 $0.00
                                                                                                                                                       lrterest:                 $0.00
                                                                                                                                                Balance Due:                $1,415.00
         TERMS:      Payable upon receipt. Accourls 30 days past due will bear a finance charge of 1.5% per rrorth. Accounts unpaid after 90 days agree to pay all collecbon costs,
         including reasonable attorney's fees. Contact us to correct payment errors. No adjustments ,.;11 be made after 90 days. For rrore information on charges related to our services
         please consult http://www.veritext.com'services/all services/services ir-lormation




        Remtto:                                                 Pay By ACH (Include invoice nurmers):                                          Invoice#: 6563611
        Veritext                                                          A/C Name:Veritext
                                                                                                                                            Invoice Date: 5'26'2023
        P.0 . Box 71303                                              Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                  Bank.Addr:311 W. Monroe Chicago, IL 60606                                    Balance Due: $1,415.00
        Fed. Tax ID:                                             Account No:         ABA:071000288
                                                                          Swift: HATRUS44
                                                                     Pay by Credit Card: www.veritext.com


42i59
                 Case 2:21-cv-00799-RSM                            Document 482-1                    Filed 06/17/25                Page 19 of 46


  Veritext, LLC - California Region
  Tel. 877-955-3855 Email: calendar-sf@veritext.com
  Fed. Tax ID:
                                                                                                              VERITEXT
                                                                                                                    ~ LEGAL SOLU TIONS




  Bill To: Tim C. Saulsbury                                                                                                              Invoice #:                 6619334
             Morrison & Foerster LLP
                                                                                                                                    Invoice Date:                 6/12/2023
             425 Market St
             San Francisco, CA, 94105                                                                                               Balance Due:                  $2,576.95



  Case: Utherverse Gaming LLC v. Epic Games, Inc (2:21-cv-00799-RSM-TLF)                                                              Proceeding Type: Depositions

 Job #: 5929727         |   Job Date: 6/1/2023 | Delivery: Normal                                                                               Billing #: 27772-0000001
 Location:                  Seattle, WA


 Billing Atty:              Tim C. Saulsbury
 Scheduling Atty:           Colby Springer | Polsinelli Law Firm

 Witness: Benjamin Ellinger Volume 2                                                                                  Quantity                   Price              Amount

             Transcript Services - Certified Transcript                                                                  351.00                  $3.40            $1,193.40

             Rough Draft                                                                                                 351.00                  $1.60              $561.60

             Realtime Services                                                                                           351.00                  $1.85              $649.35

             Exhibits                                                                                                    292.00                  $0.30                $87.60

             Premium Litigation Package (SBF,PTZ,LEF,PTX)                                                                   1.00                $35.00                $35.00

             Hosting & Delivery of Encrypted Files                                                                          1.00                $50.00                $50.00

  Notes:                                                                                                                              Invoice Total:              $2,576.95
                                                                                                                                           Payment:                    $0.00
                                                                                                                                               Credit:                 $0.00
                                                                                                                                             Interest:                 $0.00
                                                                                                                                      Balance Due:                $2,576.95
 TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
 including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
 please consult http://www.veritext.com/services/all-services/services-information




                                 THIS INVOICE IS 169 DAYS PAST DUE, PLEASE REMIT - THANK YOU
Remit to:                                              Pay By ACH (Include invoice numbers):                                                      Invoice #: 6619334
Veritext                                                         A/C Name:Veritext
P.O. Box 71303                                              Bank Name:BMO Harris Bank                                                      Invoice Date: 6/12/2023
Chicago IL 60694-1303                                 Bank Addr:311 W. Monroe Chicago, IL 60606
                                                                                                                                          Balance Due: $2,576.95
Fed. Tax ID:                                            Account No:         ABA:071000288
                                                                 Swift: HATRUS44
                                                            Pay by Credit Card: www.veritext.com

                                                                                                                                                                 B420231128
                  Case 2:21-cv-00799-RSM                           Document 482-1                    Filed 06/17/25                Page 20 of 46


  Veritext, LLC - California Region
  Tel. 877-955-3855 Email: calendar-sf@veritext.com
  Fed. Tax ID:
                                                                                                              VERITEXT
                                                                                                                    ~ LEGAL SOLU TIONS




  Bill To: Tim C. Saulsbury                                                                                                              Invoice #:                 6623222
             Morrison & Foerster LLP
                                                                                                                                    Invoice Date:                 6/12/2023
             425 Market St
             San Francisco, CA, 94105                                                                                               Balance Due:                  $1,380.00



  Case: Utherverse Gaming LLC v. Epic Games, Inc (2:21-cv-00799-RSM-TLF)                                                              Proceeding Type: Depositions

 Job #: 5929727        |   Job Date: 6/1/2023 | Delivery: Expedited                                                                             Billing #: 27772-0000001
 Location:                 Seattle, WA


 Billing Atty:             Tim C. Saulsbury
 Scheduling Atty:          Colby Springer | Polsinelli Law Firm

 Witness: Benjamin Ellinger Volume 2                                                                                  Quantity                   Price              Amount

             Video - Digitizing & Transcript Synchronization                                                                7.00              $110.00               $770.00

             Video - Transcript Synchronization - Expedited Production                                                      7.00                $80.00              $560.00

             Video - Electronic Access                                                                                      1.00                $50.00                $50.00

  Notes:         Expedited 3 Days                                                                                                     Invoice Total:              $1,380.00
                                                                                                                                           Payment:                    $0.00
                                                                                                                                               Credit:                 $0.00
                                                                                                                                             Interest:                 $0.00
                                                                                                                                      Balance Due:                $1,380.00
 TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
 including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
 please consult http://www.veritext.com/services/all-services/services-information




                                 THIS INVOICE IS 169 DAYS PAST DUE, PLEASE REMIT - THANK YOU
Remit to:                                              Pay By ACH (Include invoice numbers):                                                      Invoice #: 6623222
Veritext                                                         A/C Name:Veritext
P.O. Box 71303                                              Bank Name:BMO Harris Bank                                                      Invoice Date: 6/12/2023
Chicago IL 60694-1303                                 Bank Addr:311 W. Monroe Chicago, IL 60606
                                                                                                                                          Balance Due: $1,380.00
Fed. Tax ID:                                            Account No:         ABA:071000288
                                                                 Swift: HATRUS44
                                                            Pay by Credit Card: www.veritext.com

                                                                                                                                                                 B420231128
                 Case 2:21-cv-00799-RSM                            Document 482-1                    Filed 06/17/25                Page 21 of 46


  Veritext, LLC - California Region
  Tel. 877-955-3855 Email: calendar-sf@veritext.com
  Fed. Tax ID:
                                                                                                              VERITEXT
                                                                                                                    ~ LEGAL SOLU TIONS




  Bill To: Tim C. Saulsbury                                                                                                              Invoice #:                 6635696
             Morrison & Foerster LLP
                                                                                                                                    Invoice Date:                 6/13/2023
             425 Market St
             San Francisco, CA, 94105                                                                                               Balance Due:                  $1,394.60



  Case: Utherverse Gaming LLC v. Epic Games, Inc (2:21-cv-00799-RSM-TLF)                                                              Proceeding Type: Depositions

 Job #: 5929735         |   Job Date: 6/2/2023 | Delivery: Normal                                                                      Client Matter #: 27772-0000001
 Location:                  Seattle, WA


 Billing Atty:              Tim C. Saulsbury
 Scheduling Atty:           Colby Springer | Polsinelli Law Firm

 Witness: Benjamin Ellinger Vol 3                                                                                     Quantity                   Price              Amount

             Transcript Services - Certified Transcript                                                                  184.00                  $3.40              $625.60

             Rough Draft                                                                                                 184.00                  $1.60              $294.40

             Realtime Services                                                                                           184.00                  $1.85              $340.40

             Exhibits                                                                                                    164.00                  $0.30                $49.20

             Premium Litigation Package (SBF,PTZ,LEF,PTX)                                                                   1.00                $35.00                $35.00

             Hosting & Delivery of Encrypted Files                                                                          1.00                $50.00                $50.00

  Notes:                                                                                                                              Invoice Total:              $1,394.60
                                                                                                                                           Payment:                    $0.00
                                                                                                                                               Credit:                 $0.00
                                                                                                                                             Interest:                 $0.00
                                                                                                                                      Balance Due:                $1,394.60
 TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
 including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
 please consult http://www.veritext.com/services/all-services/services-information




                                 THIS INVOICE IS 168 DAYS PAST DUE, PLEASE REMIT - THANK YOU
Remit to:                                              Pay By ACH (Include invoice numbers):                                                      Invoice #: 6635696
Veritext                                                         A/C Name:Veritext
P.O. Box 71303                                              Bank Name:BMO Harris Bank                                                      Invoice Date: 6/13/2023
Chicago IL 60694-1303                                 Bank Addr:311 W. Monroe Chicago, IL 60606
                                                                                                                                          Balance Due: $1,394.60
Fed. Tax ID:                                            Account No:         ABA:071000288
                                                                 Swift: HATRUS44
                                                            Pay by Credit Card: www.veritext.com

                                                                                                                                                                 B420231128
                  Case 2:21-cv-00799-RSM                                  Document 482-1                         Filed 06/17/25                     Page 22 of 46




         Veritext, LLC - California Region
         Tel. 877-955-3855 Errnil: calendar-sf@veritext.com
         Fed. Tax ID:
                                                                                                                       VERITEXT
                                                                                                                             ~ LEGAL SOLUTIONS




         Bill To: Bethany D Bengfort Esq.                                                                                                           Invoice#:                6671834
                  Morrison & Foerster LLP                                                                                                     Invoice Date:                 6/2812023
                  425 Market St
                  San Francisco, CA, 94105                                                                                                   Balance Due:                     $408.00


         Case: Utherverse Galling LLC v. Epic Games, Inc (2:21-cv-00799-RSM-
         TLF)
                                                                                                                                               Proceeding Type: Depositions

        Job #: 5929735             Job Date: 6/2/2023         I Delivery: Nonnal                                                                Client Matter #: 27772-0000001
        Location:                 Seattle, WA
        Billing Atty:             Bethany D. Bengfort Esq.
        Scheduling Atty:          Colby Springer I Polsinelli Law Firm

         Witness: Benjamin ElingerVol 3                                                                                        QuarDty                     Price             Amount

                    Video - Electronic Access                                                                                        1.00                $28.00                 $28.00
                                                                                                                                                -                       -
                    Video - Digitizing & Transcript Synchronization                                                                  4.00                $95.00               $380.00

         Notes:                                                                                                                                Invoice Total:                 $408.00
                                                                                                                                                     Paynn:                      $0.00
                                                                                                                                                         Credit:                 $0.00
                                                                                                                                                       lmerest:                  $0.00
                                                                                                                                                Balance Due:                  $408.00
         TERMS:      Payal)e 4J<ln receipt. Accourts 30 days past due will bear a finance charge of 1.5% per rrorth. Accounts unpaid after 90 days agree to pay all collecbOn costs,
         including reasonable attorney's fees. Contact us to corTect payment errors. No adjustments ...11 be made after 90 days. For m:>re information on charges related to our services
         please consult http://www.verite)(!.com'services/all services/services information




        Remtto:                                                 Pay By ACH (Include invoice nurmers):                                           Invoice #: 6671834
        Veritext                                                         A/C Name:Veritext
                                                                                                                                            Invoice Date: 6/28/2023
        P.O. Box 71303                                               Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                  BankAddr.311 W. Monroe Chicago, IL 60606                                     Balance Due: $408.00
        Fed. Tax ID:                                             Account No:         ABA:071000288
                                                                                   Swift: HATRUS 44
                                                                     Pay by Credit Card: www.veritext.com



42759
                          Case 2:21-cv-00799-RSM                            Document 482-1                   Filed 06/17/25                 Page 23 of 46


         Veritext, LLC - California Region
         Tel. 877-955-3855 Email: calendar-sf@veritext.com
         Fed. Tax ID:
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         Bill To: Katherine McNutt                                                                                                               Invoice #:                6495132
                     Morrison & Foerster LLP
                                                                                                                                            Invoice Date:                 4/17/2023
                     425 Market St
                     San Francisco, CA, 94105                                                                                               Balance Due:                  $2,466.95



         Case: Utherverse Gaming LLC v. Epic Games, Inc (2:21-cv-00799-RSM-TLF)                                                               Proceeding Type: Depositions

        Job #: 5814813         |   Job Date: 4/10/2023 | Delivery: Normal                                               Client Matter #:                          27772-0000001
        Location:                  Atlanta, GA
        Billing Atty:              Katherine McNutt
        Scheduling Atty:           Katherine McNutt | Morrison & Foerster LLP

         Witness: Robert Steven Flesch                                                                                        Quantity                   Price              Amount

                    Transcript Services - Original Transcript(s)                                                                 163.00                  $4.40              $717.20

                    Attendance                                                                                                      1.00              $370.00               $370.00

                    Exhibits                                                                                                     308.00                  $0.30                $92.40

                    Exhibit Share                                                                                                   1.00              $345.00               $345.00

                    Realtime Services                                                                                            163.00                  $1.85              $301.55

                    Rough Draft                                                                                                  163.00                  $1.60              $260.80

                    Premium Litigation Package (SBF,PTZ,LEF)                                                                        1.00                $35.00                $35.00

                    Veritext Virtual Primary Participants                                                                           1.00              $295.00               $295.00

                    Hosting & Delivery of Encrypted Files                                                                           1.00                $50.00                $50.00

         Notes:       In Person Reporter                                                                                                      Invoice Total:              $2,466.95
                                                                                                                                                   Payment:                    $0.00
                                                                                                                                                       Credit:                 $0.00
                                                                                                                                                     Interest:                 $0.00
                                                                                                                                              Balance Due:                $2,466.95
         TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
         including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
         please consult http://www.veritext.com/services/all-services/services-information




        Remit to:                                              Pay By ACH (Include invoice numbers):                                           Invoice #: 6495132
        Veritext                                                         A/C Name:Veritext                                                 Invoice Date: 4/17/2023
        P.O. Box 71303                                              Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                 Bank Addr:311 W. Monroe Chicago, IL 60606                                  Balance Due: $2,466.95
        Fed. Tax ID:                                            Account No:         ABA:071000288
                                                                         Swift: HATRUS44
                                                                    Pay by Credit Card: www.veritext.com


42759
                 Case 2:21-cv-00799-RSM                                    Document 482-1                         Filed 06/17/25                     Page 24 of 46




         Veritext, LLC - California Region
         Tel. 877-955-3855 Ermil: calenda r-sf@veritext.com
         Fed . Tax ID:
                                                                                                                         VERITEXT
                                                                                                                               ~ LEGAL SOLUTIONS




         Bill T o: Katherine McNutt                                                                                                                  Invoice #:                 6540219
                   Morrison & Foerster LLP                                                                                                      Invoice Date:                   5,'2/2023
                   425 Mar1<et St
                   San Francisco, CA, 94105                                                                                                     Balance Due:                  $1,17L25


        ICase: UtherverseGarring LLC v. Epic Games, Inc (2:21-cv-00799-RSM-TLF)                                                                  Proceeding Type: Deposil:ioos I
        Job#: 5814813               Job Date: 4/10/2023          I Delivery: Nom1al                                         Client Matter#:                            27772-0000001
        Location:                  Atlanta, GA
        Billing Atty:              Katherine McNutt
        Scheduling Atty:           Katherine McNutt I Morrison & Foerster LLP

        IWitness: Robert Steven Flesch                                                                                           Quaraty                      Price

                   IVideo - Services                                                                                                   5.75               $195.00             $1,121.25

                    Video - Electronic Access                                                                                          1.00                 $50.00                $50.00

         Notes:        In Person Videographer                                                                                                     Invoice Total:              $l.17L2S
                                                                                                                                                        Payment:                    $0.00
                                                                                                                                                           Credit:                  $0.00
                                                                                                                                                         lrterest:                  $0.00
                                                                                                                                                  Balance Due:                $1,17L25
         TERMS: Payable upon receipt. Accourts 30 days past due will bear a finance charge of 1.5% per rrorth. Accounts unpaid after 90 days agree to pay all collection costs,
         including reasor.ible attorrey's fees. Contact us to correct payrrent errors. No adjustrrents ,.;11 be rrode after 90 days. For more information on charges related to our services
         please consult ttJ.p://www.veritext.co,n'services/al~services/services-irlorrnation




        Remtto:                                                  Pay By ACH (Include invoice nurmers):                                           Invoice #: 6540219
        Veritext                                                           A/C Name:Veritext
                                                                                                                                              Invoice Date: 5/2/2.0'2:3
        P .0 . Box 71303                                              Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                   Bank.Addr:311 W. Monroe C hicago, IL 60606                                    Balance Due: $1,171.25
        Fed. T ax ID:                                             Account No:         ABA:071000288
                                                                           Swift: HATR US44
                                                                      Pay by Credit Card: www.veritext.com


42i59
                  Case 2:21-cv-00799-RSM                                   Document 482-1                         Filed 06/17/25                    Page 25 of 46




          Veritext, LLC - California Region
          Tel. 877-955-3855 Email: calendar-sf@veritext.com
          Fed. Tax ID:
                                                                                                                         VERITEXT
                                                                                                                               ~ LEGAL SOLUTIONS




          Bill To: Bethany D. Bengfort Esq.                                                                                                         Invoice #:                 6491847
                      Momson & Foerster LLP
                                                                                                                                               Invoice Date:                  4/1412023
                      425 Market Sl
                      San Francisco, CA, 94105                                                                                                 Balance Due:                   $5,565.60


         ICase: Utherverse Gaming LLC v. Epic Games, Inc (2:21-cv-00799-RSM-TLF)                                                                 Proceeding Type: Depositions                 I
         Job #: 5854418              Job Date: 417/2023         I Delivery: Dally                                           Client Matter #:                          27772-0000001
          Location:                Raleigh, NC
          Billing Atty:            Bethany D. Bengfort Esq.
          Scheduling Atty:         Colby Springer I Polsinelli PC

         IWitness: Mark ~aco                                                                                                     Quanity                     Price             Amount

                      Transcript Services - Certified T ranscript                                                                   449.00                   $6.80            $3,053.20

                      Exhibils                                                                                                      159.00                   $0.30                $47.70

                      Realtime Services                                                                                             449.00                   $1.85              $830.65

                      Reaitinne Services                                                                                            449.00                   $1.85              $830.65

                      Rough Draft                                                                                                   449.00                   $1.60              $718.40

                      Prem um Litigation Package (SBF,PTZ, LEF)                                                                        1.00                535.00                 $35.00

                      Hosting & Delivery of Encrypted Files                                                                            1.00                $50.00                 $50.00

          Notes:      Expedited Daily                                                                                                            Invoice Total:               $5,565.60
                      Realtimes : Pengfort and Easton                                                                                                  Payment:                    $0.00
                                                                                                                                                           Credi:                  $0.00
                                                                                                                                                        Interest:                  $0.00
                                                                                                                                                 Balance Due:                 $5,565.60
          TERMS: Payable upon receipt. Accounts 30 days past due will bear a 'inance charge of 1.5% per month. Accounts Lnpaid after 90 days agree to pay all collection costs,
          including reasonable attorney's fees. Cortact us to correct paym2nt errors. No adjustrrent:s will be made after 90 days. For rrore information on charges related to our services
          please consult http://www.vetitext.co1r/services/all-services/services-infom"0tion




         Remtto:                                                 Pay By ACH {Include invoice nuni>ers):                                           Invoice #: 6491847
         Veritext                                                         A/C Name:Veritext                                                   Invoice Date: 4,114{2023
         P.0. Box 71303                                               Bank Name:BMO Harris Bank
         Chicago IL 60694-1303                                  BankAddr:311 W. Monroe Chicago, IL 60606                                     Balance Due: $5,565.60
         Fed. Tax ID:                                             Account No:         ABA:071000288
                                                                           Swift: HATRUS44
                                                                       Pay by Credit Card: www.veritext.com


·12759
                  Case 2:21-cv-00799-RSM                                  Document 482-1                         Filed 06/17/25                     Page 26 of 46




         Veritext, LLC - California Region
         Tel. 877-955-3855 Ermil: calendar-sf@veritext.com
         Fed. Tax ID:
                                                                                                                       VERITEXT
                                                                                                                             ~ LEGAL SOLUTIONS




         Bill T o: Bethany D. Bengfort Esq.                                                                                                         Invoice #:               6536809
                   Morrison & Foerster LLP                                                                                                    Invoice Date:                 ~'Z7/20Z3
                   425 Mar1<et St
                   San Francisco, CA, 94105                                                                                                  Balance Due:                     $820.00


         Case: UtherverseGarring LLC v. Epic Games, Inc (2:21-cv-00799-RSM-
         TLF)                                                                                                                                  Proceeding Type: Depositions
        J ob #: 5854418            Job Date: 4/7/2023         I Delivery: Nonnal                                                                Client Matter #: 27772-0000001
        Location:                 Raleigh, NC
        Billing Atty:             Bethany D Bengfort Esq.
        Scheduling Atty:          Colby Springer I Polsinelli PC

        IWitness: Mark lniJriaco                                                                                               Quantity                    Price

                    Video - Electronic Access                                                                                        1.00                $50.00                 $50.00
                                                                                                                                                -                       -          ----'
                    Video - Digitizing & Transcript Synchronization                                                                  7.00               $110.00               $770.00

         Notes:                                                                                                                                Invoice Total:                 $820.00
                                                                                                                                                      Payment:                  $0.00
                                                                                                                                                        Credit:                 $0.00
                                                                                                                                                       lrterest:                $0.00
                                                                                                                                                Balance Due:                  $820.00
         TERMS:      Payable upon receipt. Accourls 30 days past due will bear a finance charge of 1.5% per rrorth. Accounts unpaid after 90 days agree to pay all collecbon costs,
         including reasonable attorney's fees. Contact us to correct payment errors. No adjustments ,.;11 be made after 90 days. For rrore information on charges related to our services
         please consult http://www.veritext.com'services/all services/services irlormation




        Remtto:                                                 Pay By ACH (Include invoice nurmers):                                           Invoice#: 6536809
        Veritext                                                          A/C Name:Veritext
                                                                                                                                            Invoice Date: 5/27/'20'2:3
        P .0 . Box 71303                                             Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                  Bank.Addr:311 W. Monroe C hicago, IL 60606                                   Balance Due: $820.00
        Fed. T ax ID:                                            Account No:         ABA:071000288
                                                                          Swift: HATRUS44
                                                                     Pay by Credit Card: www.veritext.com


42i59
                   Case 2:21-cv-00799-RSM                          Document 482-1                    Filed 06/17/25                Page 27 of 46


  Veritext, LLC - California Region
  Tel. 877-955-3855 Email: calendar-sf@veritext.com
  Fed. Tax ID:
                                                                                                              VERITEXT
                                                                                                                    ~ LEGAL SOLU TIONS




  Bill To: Katherine McNutt                                                                                                              Invoice #:                 6616347
             Morrison & Foerster LLP
                                                                                                                                    Invoice Date:                 6/12/2023
             425 Market St
             San Francisco, CA, 94105                                                                                               Balance Due:                  $4,344.85



  Case: Utherverse Gaming LLC v. Epic Games, Inc (2:21-cv-00799-RSM-TLF)                                                              Proceeding Type: Depositions

 Job #: 5929700         |   Job Date: 6/1/2023 | Delivery: Daily                                                                                Billing #: 27772-0000001
 Location:                  Dallas, TX


 Billing Atty:              Katherine McNutt
 Scheduling Atty:           Mark T. Deming Esq | Polsinelli Law Firm

 Witness: Lauren Kindler                                                                                              Quantity                   Price              Amount

             Transcript Services - Certified Transcript                                                                  393.00                  $6.80            $2,672.40

             Rough Draft                                                                                                 393.00                  $1.60              $628.80

             Realtime Services                                                                                           393.00                  $1.85              $727.05

             Exhibits                                                                                                    772.00                  $0.30              $231.60

             Premium Litigation Package (SBF,PTZ,LEF,PTX)                                                                   1.00                $35.00                $35.00

             Hosting & Delivery of Encrypted Files                                                                          1.00                $50.00                $50.00

  Notes:         Daily Delivery                                                                                                       Invoice Total:              $4,344.85
                                                                                                                                           Payment:                    $0.00
                                                                                                                                               Credit:                 $0.00
                                                                                                                                             Interest:                 $0.00
                                                                                                                                      Balance Due:                $4,344.85
 TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
 including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
 please consult http://www.veritext.com/services/all-services/services-information




                                  THIS INVOICE IS 169 DAYS PAST DUE, PLEASE REMIT - THANK YOU
Remit to:                                              Pay By ACH (Include invoice numbers):                                                      Invoice #: 6616347
Veritext                                                         A/C Name:Veritext
P.O. Box 71303                                              Bank Name:BMO Harris Bank                                                      Invoice Date: 6/12/2023
Chicago IL 60694-1303                                 Bank Addr:311 W. Monroe Chicago, IL 60606
                                                                                                                                          Balance Due: $4,344.85
Fed. Tax ID:                                            Account No:         ABA:071000288
                                                                 Swift: HATRUS44
                                                            Pay by Credit Card: www.veritext.com

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                  Case 2:21-cv-00799-RSM                                  Document 482-1                         Filed 06/17/25                     Page 28 of 46




         Veritext, LLC - California Region
         Tel. 877-955-3855 Errnil: calendar-sf@veritext.com
         Fed. Tax ID:
                                                                                                                       VERITEXT
                                                                                                                             ~ LEGAL SOLUTIONS




         Bill To: Bethany D Bengfort Esq.                                                                                                           Invoice#:                6671954
                  Morrison & Foerster LLP                                                                                                     Invoice Date:                  7/'1/'2023
                  425 Market St
                  San Francisco, CA, 94105                                                                                                   Balance Due:                     $930.00


         Case: Utherverse Galling LLC v. Epic Games, Inc (2:21-cv-00799-RSM-
         TLF)                                                                                                                                  Proceeding Type: Depositions

        Job #: 5929700             Job Date: 6/112023         I Delivery: Nonnal                                                                           Billing#: 7772-0000001
        Location:                 Dallas, TX
        Billing Atty:             Bethany D. Bengfort Esq.
        Scheduling Atty:          Mari<T. Deming Esq I Polsinelli Law Firm

         Witness: Lann Kindler                                                                                                 QuarDty                     Price             Amount

                    Video - Electronic Access                                                                                        1.00                $50.00                 $50.00
                                                                                                                                                -                       -
                    Video - Digitizing & Transcript Synchronization                                                                  8.00               $110.00               $880.00

         Notes:                                                                                                                                Invoice Total:                 $930.00
                                                                                                                                                     Paynn:                      $0.00
                                                                                                                                                         Credit:                 $0.00
                                                                                                                                                       lmerest:                  $0.00
                                                                                                                                                Balance Due:                  $930.00
         TERMS:      Payal)e 4J<ln receipt. Accourts 30 days past due will bear a finance charge of 1.5% per rrorth. Accounts unpaid after 90 days agree to pay all collecbOn costs,
         including reasonable attorney's fees. Contact us to corTect payment errors. No adjustments ...11 be made after 90 days. For m:>re information on charges related to our services
         please consult http://www.verite)(!.com'services/all services/services information




        Remtto:                                                 Pay By ACH (Include invoice nurmers):                                          Invoice #: 6671954
        Veritext                                                         A/C Name:Veritext
                                                                                                                                            Invoice Date: 7/2/'2fJ'23
        P.O. Box 71303                                               Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                  BankAddr.311 W. Monroe Chicago, IL 60606                                     Balance Due: $930.00
        Fed. Tax ID:                                             Account No:         ABA:071000288
                                                                          Swift: HATRUS44
                                                                     Pay by Credit Card: www.veritext.com


42759
                  Case 2:21-cv-00799-RSM                                    Document 482-1                         Filed 06/17/25                     Page 29 of 46




          Veritext, LLC - California Region
          Tel. 877-955-3855 Email: calendar-sf@veritext.com
          Fed. Tax ID:
                                                                                                                          VERITEXT
                                                                                                                                ~ LEGAL SOLUTIONS




          Bill To: Eric C. Wiener Esq.                                                                                                              Invoice #:                  6620607
                   Momson & Foerster LLP
                                                                                                                                                 Invoice Date:                 6{2]/2023
                   425 Market Sl
                   San Francisco, CA, 94105                                                                                                      Balance Due:                  $5,319.30


          Case: Utherverse Ganlng LLC v. Epic Games, Inc (2:21-cv-00799-RSM-                                                                      Proceecing Type: Depositions
          TLF)
         Job #: 5943410              Job Date: 6/2J2023          I Delivery: Normal                                                                           Client Matter #: 27772-1
          Location:                 Washington, DC                                                                                                              Ref #: 27772-0000001
          Billing Atty:             Eric C. Wiener Esq.
          Scheduling Atty:          Eric C. Wiener Esq. I Morrison & Foerster LLP

         IWitness: Michele Riley                                                                                                  Quanity                     Price              Amount
                      Transcript Services - Original Transcript(s)                                                                   549 00                   $4.65            $2. 552.85

                      Rough Draft                                                                                                    549.00                   $1.60               $878.40

                      Realtirre Services                                                                                             549.00                   $1.85            $1,015.65

                      Attendance                                                                                                        2.00               $185.00                $370.00

                      Exhibits                                                                                                       408.00                   $0.30               $122.40

                      Prem um Litigation Package (SBF,PTZ,LEF)                                                                          1.00                 S35.00                $35.00

                      Veritext Virtual Primary Participants                                                                             1.00               $295.00                $295.00

                    I Hosting & Delivery of Encrypted Files                                                                             1.00                 S50.00                $50.00

          Notes:        In Person reporter                                                                                                         Invoice Total:              $5,319.30
                                                                                                                                                        P.iyment:                    $0.00
                                                                                                                                                            Credit:                  $0.00
                                                                                                                                                          Interest:                  $0.00
                                                                                                                                                   Balance Due:                $5,319.30
          TERMS: Payable uix,n receiµ.. Accounls 30 days pasl due will bear a finance charge ol 1.5% per m:,nlh. Accounls u ,paid afler 90 days agree lo pay all collection costs,
          induding reasMable attorney's fees. Cort., ct 11S to correct payment errors. No adjtlstments will be m1de after 90 days. For m:ire infomu:ion on charges relate.1 to 01Jr ser.1ices
          please consult http://www.veritext.corr1se~1ices/all-services/seNices-infonmtlon




         Remtto:                                                  Pay By ACH {Include invoice nuni>ers):                                            Invoice #: 6620607
         Veritext                                                           A/C Name:Veritext                                                  Invoice Date: &'21/2023
         P.0. Box 71303                                                Bank Name:BMO Harris Bank
         Chicago IL 60694-1303                                   Bank Addr:311 W. Monroe Chicago, IL 60606                                    Balance Due: $5,319.30
         Fed. Tax ID:                                              Account No:         ABA:071000288
                                                                            Swift: HATRUS44
                                                                       Pay by Credit Card : www.veritext.com


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                   Case 2:21-cv-00799-RSM                                Document 482-1                        Filed 06/17/25                    Page 30 of 46




         Veritext, LLC - California Region
         Tel. 877-955-3855 Errnil: calendar-sf@veritext.com
         Fed. Tax ID:
                                                                                                                      VERITEXT
                                                                                                                           ~ LEGAL SOLUTIONS




         Bill To: Eric C. Wiener Esq.                                                                                                            Invoice#:                 6662144
                  Morrison & Foerster LLP
                                                                                                                                            Invoice Date:                 fil'Z1l'20'Z3
                  425 Market St
                  San Francisco, CA, 94105                                                                                                  Balance Due:                  $2,089.75


         Case: Utherverse Galling LLC v. Epic Games, Inc (2:21-cv-00799-RSM-
         TLF)
                                                                                                                                             Proceeding Type: Depositions

        Job #: 5943410             Job Date: 6/2/2023         I Delivery: Nonnal                                                                         Client Matter #: 27772-1
        Location:                 Washington, DC                                                                                                           Ref#: 27772-0000001
        Billing Atty:             Eric C. Wiener Esq.
        Scheduling Atty:          Eric C. Wiener Esq. I Morrison & Foerster LLP

         Witness: Mchele Riley                                                                                                QuarDty                    Price             Amount

                    Video - Services                                                                                              10.25               $195.00             $1,998.75
                    Expenses (Out of Pocket)                                                                                        1.00                $16.00                $16.00
                    Equiprrent Rental                                                                                               1.00                $75.00                $75.00

         Notes:      In Person Videographer                                                                                                   lnvok:e Total:              $2,089.75
                     Expenses - Parking                                                                                                            Payment:                    $0.00
                                                                                                                                                       Credit:                 $0.00
                                                                                                                                                     ln:erest:                 $0.00
                                                                                                                                              Balance Due:                $2,089.75
         T ERMS:     Payatje tµin receipt. AccourLS 30 days past due will bear a finance charge of 1.5% per rmrth. Accounts unpaid after90 days agree to pay all collectlon costs.
         including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
         please consult http://www.ventext.corn'services/all-services/services-information




        Remtto:                                                Pay By ACH (Include invoice nurmers):                                           Invoice #: 6662144
        Veritext                                                        A/C Name:Veritext                                                  Invoice Date: 6/27/2.023
        P.O. Box 71303                                              Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                 BankAddr.311 W. Monroe C hicago, IL 60606                                  Balance Due: $2,089.75
        Fed. Tax ID:                                            Account No          ABA:071000288
                                                                         Swift: HATRUS44
                                                                    Pay by Credit Card: www.veritext.com


42759
                   Case 2:21-cv-00799-RSM                                    Document 482-1                          Filed 06/17/25                     Page 31 of 46




          Veritext, LLC - California Region
          Tel. 877-955-3855 Email: calendar-sf@veritext.com
          Fed. Tax ID:
                                                                                                                           VERITEXT
                                                                                                                                 ~ LEGAL SOLUTIONS




          Bill To: Daralyn J. Durie Esq.                                                                                                               Invoice #:                  6610850
                      Momson & Foerster LLP                                                                                                                                      5{3]/2023
                                                                                                                                                  Invoice Date:
                      425 Market Sl
                      San Francisco, CA, 94105                                                                                                    Balance Due:                   $4,085.35


          Case: Utherverse Ganlng LLC v. Epic Games, Inc (2:21-cv-00799-RSM-                                                                       Proceecing Type: Depositions
          TLF)
         Job #: 5943406              Job Date: 5/30/2023           I Delivery: Daily                                                                 Client Matter#: 27772-0000001
          Location:                 Seattle, WA
          Billing Atty:             Daralyn J. Durie Esq.
          Scheduling Atty:          Daralyn J. Durie Esq. I Morrison & Foerster LLP

         IWitness: Craig S. Rosenberg, Ph.D.                                                                                       Quanity                      Price              Amount
                      Transcript Services - Original Transcript(s)                                                                    277.00                    $9.30            $2. 576.10

                      Rough Draft                                                                                                     277.00                    $1.60               $443.20

                      Realtirre Services                                                                                              277.00                    $1.85               $512.45

                      Attendance - Full Day                                                                                               2.00               $185.00                $370.00

                      Exhibits                                                                                                        262.00                    $0.30                $78.60

                      Premum Litigation Package (SBF,PTZ,LEF)                                                                             1.00                S35.00                 $35.00

                      Expenses (Out or Pocket}                                                                                            1.00                520.00                 $20.00

                      Hosting & Delivery of Encrypted Files                                                                               1.00                550.00                 $50.00

          Notes:      In person reporter                                                                                                            Invoice Total:               $4,085.35
                      Daily                                                                                                                               Payment:                     $0.00
                      Expenses - Parking
                                                                                                                                                              Cn!dl:                   $0.00
                                                                                                                                                            Interest:                  $0.00
                                                                                                                                                    Balance Due:                 $4,085.35
          TERMS:      Payable upon receipt. Accounts 30 days past due ,,,;11 bear a ' inance charge of 1.5% per n-onth. Accounts w paid after 90 days agree to pay all collection costs.
          including reasorlable allon,ey's fees. Contact us Lu correct payrre11l errors. No adjuslnenls will be made an.er 90 days. For rn:ire inlonralion oro charges r:elaled lo our services
          please consult htto://w,,11w.vcritcxt.corr/scrviccs./all-servicesiservic<"..S-inforrmtion




         Remtto:                                                    Pay By ACH {Include invoice nuni>ers):                                           Invoice #: 6610850
         Veritext                                                            A/C Name:Veritext                                                   Invoice Date: ~31/2023
         P.0. Box 71303                                                Bank Name:BMO Harris Bank
         Chicago IL 60694-1303                                   Bank Addr:311 W. Monroe Chicago, IL 60606                                     Balance Due: $4,085.35
         Fed. Tax ID:                                                 Account No:         ABA:071000288
                                                                               Swift: HATRUS44
                                                                        Pay by Credit Card : www.veritext.com


·12759
                 Case 2:21-cv-00799-RSM                                    Document 482-1                         Filed 06/17/25                      Page 32 of 46




         Veritext, LLC - California Region
         Tel. 877-955-3855 Ermil: calendar-sf@veritext.com
         Fed. Tax ID:
                                                                                                                        VERITEXT
                                                                                                                              ~ LEGAL SOLUTIONS




         Bill To: Daralyn J. Durie Esq.                                                                                                               Invoice #:               66Z3514
                     Morrison & Foerster LLP
                                                                                                                                               Invoice Date:                  6121/2023
                     425 Market St
                     San Francisco, CA, 94105                                                                                                  Balance Due:                   $1,776.24


         Case: UtherverseGarring LLC v. Epic Games, Inc (2:21-cv-00799-RSM-
         TLF)                                                                                                                                   Proceeding Type: Depositions

        Job #: 5943406              Job Date: 5/30/2023          I Delivery: Expedited                                                            Client Matter #: 27772-0000001

        Location:                  Seattle, WA
        Billing Atty:              Daralyn J. Durie Esq.
        Scheduling Atty:           Daralyn J. Durie Esq. j Morrison & Foerster LLP

        IWitness: Craig s Rosenberg PhD                                                                                         Quantity                     Price

                    Video - Services                                                                                                   8.75              $195.00              $1,706.25
                                                                                                                                                  -                                  ----'
                    Video - Electronic Access                                                                                          1.00                $50.00                 $50.00
                                                                                                                                                  -                       -
                     Expenses (Out of Pocket)                                                                                          1.00                $19.99                 $19.99

         Notes:      In Person Videographer                                                                                                      Invoice Total:               $1,776.24
                     Expenses - Parking                                                                                                                 Payment:                   $0.00
                                                                                                                                                           Credit:                 $0.00
                                                                                                                                                         I..erest:                 $0.00
                                                                                                                                                 Balance Due:                 $1,776.24
         T ERMS: Payable ~n receipt Accourts 30 days past due will bear a finance charge of 1.5% per rrorth. Accounts unpaid after90 clays agree to pay all collection costs,
         including reasoncble attorney's fees. Contact us to correct payment errors. No adjustments ..,;11 be rrade after 90 days. For rrore information on charges related to our services
         please consult tmp:i/www.veritext.corntservices/al~services/services-iriormation




        Remtto:                                                  Pay By ACH (Include invoice nurmers):                                            Invoice#: 6623514
        Veritext                                                           A/C Name:Veritext
                                                                                                                                              Invoice Date: 6121/2023
        P.0 . Box 71303                                               Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                   Bank.Addr:311 W. Monroe Chicago, IL 60606                                     Balance Due: $1,n6.24
        Fed. Tax ID:                                              Account No:         ABA:071000288
                                                                           Swift: HATRUS44
                                                                      Pay by Credit Card: www.veritext.com


42i59
                  Case 2:21-cv-00799-RSM                                          Document 482-1          Filed 06/17/25            Page 33 of 46




          Veritext, LLC - California Region
          Tel. 877-955-3855 Email: calendar-sf@veritext.com
          Fed. Tax ID:
                                                                                                              VERITEXT
                                                                                                                     ~ LEGAL SOLUTIONS




          Bill T o: Matthaeus Martino-Weinhardt Esq.                                                                                Invoice #:         6625599
                        Momson & Foerster LLP                                                                                                         6{2]/2023
                                                                                                                                 Invoice Date:
                        425 Market Sl
                        San Francisco, CA, 94105                                                                                 Balance Due:         $4,234.15



          Case: Utherverse Ganlng LLC v. Epic Games, Inc (2:21-cv-oo7'99-RSM-
                                                                                                                                  Proceecing Type: Depositions
          TLF)
          Job#: 5913929                Job Date: 6/6/2023             I Delivery: Daily                                                  Billing #: 27772-0000001
          Location:                  Washington, DC                                                                                      Client Matter#: 27772-1
          Billing Atty:              Matthaeus Martino-Weinhardt Esq.
          Scheduling Atty:           Matthaeus Martino-Weinhardt Esq. I Monison & Foerster
                                     LLP
         IWitness: Arri Shah 30(b)(6) Fortress lrwest. Group                                                         Quantity             Prtce         Amount     I
                      T rd ll!><..riµl Servi<..e:, - O riyirk;ll Tr d11:,<..riµl(:,)                                  206.00              $9.30       $1,915.80

                      Rough Draft                                                                                     206.00              $1.60         $329.60

                      Realtime Services                                                                               206.00              $1.85         $381.10

                      Exhibits                                                                                          11.00             $0.30            $3.30

                      Premum Litigation Package (SBF,PTZ,LEF)                                                            1.00            S35.00           $35.00

         IWitness: Ami Shah 30(b)(6) UtherverseGaming LLC                                                            Quantity             Price         Amount j

                      Transcript Services - Original Transcript(s)                                                     79.00              $9.30         $734.70

                      Rough Draft                                                                                      7900               $1.60         $126.40

                      Realtime Services                                                                                79.00              $1.85         $146.15

                      Exhibits                                                                                         107.00             $0.30           $32.10

                      Premum Litigation Package (SBF,PTZ,LEF)                                                            1.00            535.00           $35.00

                                                                                                                     Quantity             Price         Amount

                      Attendance                                                                                         2.00           $185.00         $370.00

                    I Equipment Rental                                                                                   1.00            S75.00           $75.00



         Remtto:                                                       Pay By ACH {Include invoice nuni>ers):                      Invoice #: 6625599
         Veritext                                                                A/C Name:Veritext                              Invoice Date: &'21/2023
         P.0. Box 71303                                                     Bank Name:BMO Harris Bank
         Chicago IL 60694-1303                                        Bank Addr:311 W. Monroe Chicago, IL 60606             Balance Due: $4,234.15
         Fed. Tax ID:                                                   Account No:         ABA:071000288
                                                                                 Swift: HATRUS44
                                                                             Pay by Credit Card : www.veritext.com


-12759
                 Case 2:21-cv-00799-RSM                                   Document 482-1                        Filed 06/17/25                    Page 34 of 46




         Veritext, LLC - California Region
         Tel. 877-955-3855 Email: calendar-sf@veritext.com
         Fed. Tax ID:
                                                                                                                      VERITEXT
                                                                                                                            ~ LEGA L SOLUTIONS




                    Hosting & Delivery of Encrypted Files                                                                            1.00                $50.00                $50.00

         Notes:       Daily                                                                                                                    Invoice Total:              $4,234.15
                     In Person reporter                                                                                                             Paymen:                     $0.00
                                                                                                                                                        Credit:                 $0.00
                                                                                                                                                      ln:erest:                 $0.00
                                                                                                                                               Balance Due:                $4,234.15
         TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs.
         including reasonable attorney's fees. Contact us to correct payrrent errors. No adjustments will be made after 90 days. For more infonration on charges related to our services
         please consult http://www.veritext.com'services/all-services/services-infonration




        Rerritto:                                               Pay By ACH (Include invoice nurmers):                                           Invoice #: 6625599
        Veritext                                                          A/C Name:Veritext                                                 Invoice Date: 6/21/2023
        P.0 . Box 71303                                              Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                  Bank Addr:311 W. Monroe Chicago, IL 60606                                  Balance Due: $4,234.15
        Fed. Tax ID:                                             Account No:         ABA:071000288
                                                                          Swift: HATRUS 44
                                                                     Pay by Credit Card: www.veritext.com


42759
                 Case 2:21-cv-00799-RSM                                   Document 482-1                         Filed 06/17/25                    Page 35 of 46




         Veritext, LLC - California Region
         Tel. 877-955-3855 Email: calendar-sf@veritext.com
         Fed. Tax ID:
                                                                                                                       VERITEXT
                                                                                                                             ~ LEGAL SOLUTIONS




         Bill T o: Matthaeus Martino-Weinhardt Esq.                                                                                               Invoice #:                 6674199
                      Monison & Foerster LLP
                                                                                                                                              Invoice Date:                  7/'lJ2fJ23
                      425 Market St
                      San Francisco, CA, 94105                                                                                               Balarx:e Due:                  $1,478.50


         CMe: Utherverse Garing LLC v. Epic Games, Inc (2:21-cv-00799-RSM-                                                                    Proceeclng Type: Depositions
         TLF)
        Job#: 5913929                    Job Date: 6/6/2023    I Delivery: Nonnal                                                                        Billing #: 27772-0000001
         Location:                     Washington, DC                                                                                                     Client Matter #: 27772-1
         Billing Atty:                 Matthaeus Martino-Weinhardt Esq.
         Scheduling Atty:              Matthaeus Martino-Weinhardt Esq. I Morrison & Foerster
                                       LLP
        IWitness: Ami Shah Fortress Invest. Gl'Ol4) 30b6                                                                       Quanlty                     Prtce             Amount !
                     V i<.lt:!U - 5 t:!rVi\..t:!!>                                                                                   5.00               $195.00               $975.00

        IWitness: Arri Shah UtherverseGamng LLC 30b6                                                                           Quanity                     Price             Amount !
                  I  Video - Services                                                                                                2.50               $195.00               $487.50

                                                                                                                               Quanlty                     Prtce             Amount j
                  I  Expenses (Out of Pocket)                                                                                        1.00                516.00                 $16.00

         Notes:       In Person Videographer                                                                                                   Invoice Total:               $1,478.50
                      Expenses - Parking                                                                                                             Payment:                    $0.00
                                                                                                                                                         Credit:                 $0.00
                                                                                                                                                       lnten,st:                 $0.00
                                                                                                                                                Balance Due:                $1,478.50
         TCRM$,      Poyoble upon receipt. Accounts 30 doys post due ,,.;11 beer o i inonce chorge of 1.5% per m:,nth. Acoounts cnpeid efter 90 dcys cgree to poy oil collection costs,
         including reasonable attorney's tees. Cortact us to correct payment errors. No ad;ustn--ents will be made after 90 days. For more intonna:ion on charges related to our services
         please consull hllp://www.veritexl.corriservicestall-servicesiservices-inforrra Lion




        Rerritto:                                               Pay By ACH {Include invoice nuni>er.i):                                         Invoice #: 6674199
        Veritext                                                         A/C Name:Veritext                                                  Invoice Date: 7/2/2.0'23
        P .0. Box 71303                                              Ban< Name:BMO Hams Bank
        Chicago IL 60694-1303                                  BankAdm-:311 W. Monroe Chicago, IL 60606                                    Balance Due: $1.478.50
        Fed. TaxlD:                                              Account No:         ABA:071000288
                                                                          Swift: HATRUS44
                                                                     Pay by Credit Card: www.veritextcom


~2759
                  Case 2:21-cv-00799-RSM                                    Document 482-1                         Filed 06/17/25                    Page 36 of 46




          Veritext, LLC - California Region
          Tel. 877-955-3855 Email: calendar-sf@veritext.com
          Fed. Tax ID:
                                                                                                                         VERITEXT
                                                                                                                               ~ LEGAL SOLUTIONS




          Bill T o: Bethany D. Bengfort Esq.                                                                                                         Invoice #:                 6416503
                      Momson & Foerster LLP
                                                                                                                                                 Invoice Date:                "3/Z1/2023
                      425 Market Sl
                      San Francisco, CA, 94105                                                                                                   Balance Due:                 $2,075.80


         ICase: Utherverse Gaming LLC v. Epic Games, Inc (2:21-cv-00799-RSM-TLF)                                                                  Proceeding Type: Depositions                 I
         Job #: 5792104              Job Date: 3/3/2023         I Delivery: Normal                                          Client Matter #:                           27772-0000001
          Location:                 Seattle, WA
          Billing Atty:             Bethany D. Bengfort Esq.
          Scheduling Atty:          Bethany D. Bengfort Esq. I Morrison & Foerster LLP

         IWitness: BrlM Shuster                                                                                                  Quanity                      Price             Amount

                      Transcript Services - Original Transcript(s)                                                                  263.00                    $3.95           $1,038.85

                      Attendance                                                                                                        1.00              $100.00                $100.00

                      Exhibits                                                                                                      369.00                    $0.30              $110.70

                      Exhibits- Linked (SBF, PTZ, LEF)                                                                                  1.00                525.00                 $25.00

                      Reaitirre Services                                                                                            263.00                    $1.50              $394.50

                      Rough Draft                                                                                                   263.00                    $1.25              $328.75

                      Litigation Package - Secure File Suite                                                                            1.00                $30.00                 $30.00

                      Expenses (Out of Pocket)                                                                                              1              $20.00   I              $20.00

                      Hosting & Delivery of Encrypted Files                                                                             1.00                528.00                 $28.00

          Nule:,:      Expenses - Parking                                                                                                          Invoice Total:             $2,075.80
                                                                                                                                                        Payment:                    $0.00
                                                                                                                                                           Credit:                  $0.00
                                                                                                                                                         1.-en!St:                  $0.00
                                                                                                                                                   Balance Due:               $2,075.80
          TERMS: Payable upon receii:t. Accounts 30 days past due will bear a "inance charge of 1.5% per nunth. Accounts lnpaid after 90 days agree to pay all collection costs.
          including reaso11able allmney's fees. Cortad us lo rnrreel payrre11L errors. No adjuslrrnnls will be made afler 90 days. For rrnre infornatiori on charges relaled Lo our ser,ices
          please consult http:,'/w,.vw.vefitext.corr(servicesl.:ill-services/services-inforrrotion




         Remtto:                                                  Pay By ACH {Include invoice nuni>ers):                                            Invoice #: 6416503
         Veritext                                                           A/C Name:Veritext                                                   Invoice Date: '3(2.2/2.0'2:3
         P .0. Box 71303                                               Bank Name:BMO Harris Bank
         Chicago IL 60694-1303                                   Bank Addr:311 W. Monroe Chicago, IL 60606                                   Balance Due: $2,075.80
         Fed. Tax ID:                                              Account No:         ABA:071000288
                                                                            Swift: HATRUS44
                                                                       Pay by Credit Card : www.veritext.com


·12759
                 Case 2:21-cv-00799-RSM                                    Document 482-1                         Filed 06/17/25                     Page 37 of 46




         Veritext, LLC - California Region
         Tel. 877-955-3855 Ermil: calendar-sf@veritext.com
         Fed. Tax ID:
                                                                                                                         VERITEXT
                                                                                                                               ~ LEGAL SOLUTIONS




         Bill To: Bethany D. Bengfort Esq.                                                                                                           Invoice #:                 6492882
                     Morrison & Foerster LLP
                                                                                                                                                 Invoice Date:                4/14/2023
                     425 Mar1<et St
                     San Francisco, CA, 94105                                                                                                    Balance Due:                 $2,117.50


        ICase: UtherverseGarring LLC v. Epic Games, Inc (2:21-cv-00799-RSM-TLF)                                                                   Proceeding Type: Deposil:ioos I
        Job#: 5792104               Job Date: 3/3/2023         I Delivery: Normal                                           Client Matter#:                            27772-0000001
        Location:                  Seattle, WA
        Billing Atty:              Bethany D. Bengfort Esq.
        Scheduling Atty:           Bethany D. Bengfort Esq. I Morrison & Foerster LLP

        IWitness: Brian Shuster                                                                                                  Quaraty                      Price             Amo\rll I
                   IVideo - Services                                                                                                  10.50               $195.00             $2,047.50

                    Video - Electronic Access                                                                                          1.00                 $50,00                $50.00

                   r Expef'ISes (Out of Pocket)                                                                                             1              $20,00                 $20,00

         Notes:        In Person Videographer                                                                                                     Invoice Total:              $2,117.50
                       Expenses - Par1<ing                                                                                                             Payment:                     $0.00
                                                                                                                                                           Credit:                  $0.00
                                                                                                                                                         •~erest:                   $0.00
                                                                                                                                                  Balance Due:                $2,117.50
         TERMS: Payatie upon receipt Accourts 30 days past due will bear a finance charge of 1.5% per rrorth. Accounts unpaid after90 days agree to pay all collection costs,
         including reasonable attorney's tees. Contact us to corTect payment erTOrs. No adjustments .,,;11 be IT\3de after 90 days. For rrore information on charges related to our services
         please consult IT.tp://www.veritext.com'services/al~services/services-ir/orrnation




        Remtto:                                                  Pay By ACH (Include invoice nurmers):                                             Invoice #: 6492882
        Veritext                                                           A/C Name:Veritext
                                                                                                                                                Invoice Date: 4/14/2023
        P.0 . Box 71303                                               Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                   Bank.Addr:311 W. Monroe Chicago, IL 60606                                     Balance Due: $2,117.50
        Fed. Tax ID:                                              Account No:         ABA:071000288
                                                                           Swift: HATRUS44
                                                                      Pay by Credit Card: www.veritext.com


42i59
   Case 2:21-cv-00799-RSM             Document 482-1           Filed 06/17/25    Page 38 of 46

INVOICE                                                                    Invoice ID: 0500-3754-3983


                   Vendor    USD-COAST REPORTING SERVICES INC (PCARD ONLY)
                Requester    Cynthia Lopez [Staff | 02779 | CAL4 | | | ]
               Created By    ZBrainware Processing [ | | zbrainware]
               Create Date   06/27/2023


   Invoice Information
                   Vendor    USD-COAST REPORTING SERVICES INC (PCARD ONLY) [121767]
                  Address    USD-COAST REPORTING SERVICES INC [1]
                             1101 - 808 NELSON ST
                             VANCOUVER, BC V6Z 2H2
                             CA

         Invoice Number      TXN00149898
            Invoice Date     06/23/2023
         Invoice Amount      3,721.24 USD

            Description      Deposition Transcripts
           Check Memo        CYNTHIA LOPEZ COAST REPORTING SERVICES

                  Einvoice   Yes



   Prior Approvers
               02/27/2024    Maria Aceituno [Staff | 26036 | MXA40]
               02/26/2024    Cynthia Lopez [Staff | 02779 | CAL4]
               02/26/2024    Maria Aceituno [Staff | 26036 | MXA40]
               02/15/2024    Sam Guerra [Staff | 26570 | SEG9]


Invoice Notes
  M Aceituno     02/27/2024 11:06 PM
                 Currency issue and prior approvals have been set.
    S Guerra     02/15/2024 9:22 PM
                 Currency has been updated
  B Kundrath     02/13/2024 10:01 PM
                 Need to update currency


Allocation Details                                                                     Amount (USD)
                                                                                             3,721.24
Special Services/Fees
         027772-0000001      EPIC GAMES INC

                      Line   0002
               Description   Deposition Transcripts
                   Name      Cynthia Lopez [Staff | 02779 | CAL4]
               Cost Code     Reporting/Transcript Fees (057)




Chrome River | www.chromeriver.com                                                      Page 1 of 2
   Case 2:21-cv-00799-RSM            Document 482-1   Filed 06/17/25   Page 39 of 46

                                                                 Invoice ID: 0500-3754-3983


Allocation Summary                                                            Amount(USD)
027772-0000001             EPIC GAMES INC                                          3,721.24




Expense Summary                             Amount(USD)
   Special Services/Fees                        3,721.24




Chrome River | www.chromeriver.com                                            Page 2 of 2
                Case 2:21-cv-00799-RSM                  Document 482-1               Filed 06/17/25              Page 40 of 46

Coast Reporting Services Inc.                                                                INVOICE
1101 - 808 Nelson St.
Vancouver, British Columbia V6Z 2H2                                                                              76907
                                                                                             Invoice No.:
Canada
                                                                                             Date:               15/06/2023
                                                                                             Ship Date:
                                                                                             Page:               1
                                                                                             Re: Order No.

Sold to:                                                         Ship to:
           MORRISON FOERSTER                                                KATHERINE McNUTT
                                                                            707 WILSHIRE BLVD.
           707 WILSHIRE BLVD.
                                                                            SUITE 6000
           SUITE 6000
                                                                            LOS ANGELES, CA 90017-3543
           LOS ANGELES, CA 90017-3543




Business No.:        12371 2176 RT0001
     Quantity           Unit                            Description                               Tax         Unit Price      Amount

                                 Reporter: Steve Lee
                                 EPIC GAMES, INC. VS. UTHERVERSE DIGITAL INC.
                                 JUNE 2, 2023
                                 U.S. DEPOSITION OF: BRIAN SHUSTER
                   7 Hour        Attendance - DEPO                                            G                      160.00        1,120.00
                   2 Hour        Attendance - DEPO - After Hours                              G                      180.00          360.00
                 246 Page        Raw or Draft Disk                                            G                        2.50          615.00
                 267 Page        Transcript - DEPO - Expedite 0 +1                            G                        8.85        2,362.95
                 158 Page        Exhibits                                                     G                        1.25          197.50

                                 **Due to ever fluctuating exchange rates, Coast Reporting
                                 accepts payment by credit card only. All amounts are
                                 payable in CAD. Thank you.

                                 G - GST 5%
                                 HST                                                                                                   232.78




Coast Reporting Services Inc. HST: #R-
Shipped By:               Tracking Number:
                                                                                                               Total Amount        4,888.23

Comment:        TERMS: PAYABLE UPON RECEIPT                                                                    Amount Paid               0.00

                                                                                                             Amount Owing          4,888.23
Sold By:
   Case 2:21-cv-00799-RSM                   Document 482-1          Filed 06/17/25       Page 41 of 46



Shawn Lam Video Inc.
3981 Coast Meridian Road
Port Coquitlam BC V3B 3P5
(604) 554-0250
                                                                                         S l:"
                                                                                         SHAWN LAM VIDEO
                                                                                         L iv e Media P r o du ction

video@slvlive.ca
www.slvlive.ca
Business Number (GST)


BILL TO                                                                INVOICE 2023-148
Lawson Lundell LLP
1600-925 West Georgia Street
Vancouver BC V6C 3L2                                                   DATE 2023-06-02


                                                                       DUE DATE 2023-07-02




QTY DESCRIPTION                                                                 RATE                    AMOUNT

     Legal Video Deposition                                                  1,250.00                   1,250.00
     June 2, 2023 9AM
     Utherverse Gaming LLC v Epic Garnes Inc
     Witness: Brian Shuster

     First seven hours - day rate
     9 AM - 4 PM
     Includes 45 minute advance set-up & 30 minute strike

     Location: Lawson Lundell, Vancouver, BC.

     Provide legal videographer
     5 gooseneck microphones
     sound board with 6 XLR audio inputs
     laptop with vMix software and Magewell SDI to USB capture device for
     real-time recording

     On-site delivery of recording on USB flash drive. Mp4 recording with
     WAV audio files .

     11 video files. 7h59rn on the record
     Parking and Equipment Delivery                                            22.50                        22.50
     Cathedral Place - Earl bird Rate
3.25 Legal Videographer - overtime rate                                       150.00                      487.50
     4PM - 7:15PM


Export out of country to USA. No PST applicable.               SUBTOTAL                                 1,760.00
                                                               GST@5%                                       88.01
                                                               TOTAL                                    1,848.01
Case 2:21-cv-00799-RSM   Document 482-1   Filed 06/17/25   Page 42 of 46
                 Case 2:21-cv-00799-RSM                                    Document 482-1                         Filed 06/17/25                    Page 43 of 46




         Veritext, LLC - California Region
         Tel. 877-955-3855 Ermil: calendar-sf@veritext.com
         Fed. Tax ID:
                                                                                                                        VERITEXT
                                                                                                                              ~ LEGAL SOLUTIONS




         Bill To: TimC. Saulsbury                                                                                                                   Invoice #:                 6486844
                  Morrison & Foerster LLP
                                                                                                                                               Invoice Date:                  4/19/2023
                  425 Mar1<et St
                  San Francisco, CA, 94105                                                                                                     Balance Due:                   $2,850.10


        ICase: UtherverseGarring LLC v. Epic Games, Inc (2:21-cv-00799-RSM-TLF)                                                                  Proceeding Type: Deposil:ioos I
        Job#: 5809074               Job Date: 3/31/2023          I Delivery: Expedited
        Location:                  Raleigh, NC
        Billing Atty:             Tim C. Saulsbury
        Scheduling Atty:           Mark T. Deming Esq I Polsinelli PC

        IWitness: Matt Weissinger                                                                                                Quaraty                     Price              Amo\rll I
                   IT ranscript Services - Certified Transcript                                                                     300.00                   $5.45            $1,635.00

                     Exhibits                                                                                                       317.00                   $0.30                $95.10

                     Realtime Services                                                                                              300.00                   $1.85              $555.00

                     Rough Draft                                                                                                    300.00                   $1.60              $480.00

                     Prerrium Litigation Package (S BF ,PTZ,LEF )                                                                      1.00                $35.00                 $35.00

                   I Hosting & Delivery of Encrypted Files                                                                             1.00                $50.00                 $50.00

         Notes:        Expedited 5 Days                                                                                                          Invoice Total:               $2.850.10
                                                                                                                                                       Paynmnt:                    $0.00
                                                                                                                                                           Credit:                 $0.00
                                                                                                                                                         ln:erest:                 $0.00
                                                                                                                                                  Balance Due:                $2.850.10
         TERMS: Payatle t..pan receipt. Accourts 30 days past due will bear a finance charge of 1.5% per rmrth. Accounts unpaid after 90 days agree to pay all collection costs,
         Including reasoncble attorreys fees. contact us to c□1Tect payn-ent e1TOrs. No adjustn-ents \\All be ITl3de after 90 days. For more Information on charges related to our services
         please consult ~p://www.ver1text.co,n'services1al~services/services-ir/ormation




        Remtto:                                                  Pay By ACH (Include invoice nurmers):                                            Invoice #: 6486844
        Veritext                                                           A/C Name:Veritext
                                                                                                                                              Invoice Date: 4/19/2023
        P.0 . Box 71303                                               Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                   Bank.Addr:311 W. Monroe Chicago, IL 60606                                     Balance Due: $2,850.10
        Fed. Tax ID:                                              Account No:         ABA:071000288
                                                                           Swift: HATRUS44
                                                                      Pay by Credit Card: www.veritext.com


42i59
                 Case 2:21-cv-00799-RSM                                    Document 482-1                         Filed 06/17/25                     Page 44 of 46




         Veritext, LLC - California Region
         Tel. 877-955-3855 Ermil: calendar-sf@veritext.com
         Fed. Tax ID:
                                                                                                                         VERITEXT
                                                                                                                               ~ LEGAL SOLUTIONS




         Bill To: Matthaeus Martino-Weinhardt Esq.                                                                                                   Invoice #:                 6520435
                  Morrison & Foerster LLP                                                                                                       Invoice Date:                 4/26/2023
                  425 Mar1<et St
                  San Francisco, CA, 94105                                                                                                      Balance Due:                     $820.00


        ICase: UtherverseGarring LLC v. Epic Games, Inc (2:21-cv-00799-RSM-TLF)                                                                  Proceeding Type: Deposil:ioos I
        Job#: 5809074               Job Date: 3/31/2023          I Delivery: Nom1al                                                  Billing#:                         27772-0000001
        Location:                  Raleigh, NC
        Billing Atty:              Matthaeus Martino-Weinhardt Esq.
        Scheduling Atty:           Mark T. Deming Esq I Polsinelli PC

        IWitness: Matt Weissinger                                                                                                Quaraty                      Price

                   IVideo - Electronic Access                                                                                          1.00                 $50.00                $50.00

                    Video - Digitizing & Transcript Synchronization                                                                    7.00               $110.00                $770.00

         Notes:                                                                                                                                   Invoice Total:                 $820.00
                                                                                                                                                        Payment:                    $0.00
                                                                                                                                                           Credit:                  $0.00
                                                                                                                                                         lrterest:                  $0.00
                                                                                                                                                  Balance Due:                   $820.00
         TERMS: Payable upon receipt. Accourts 30 days past due will bear a finance charge of 1.5% per rrorth. Accounts unpaid after 90 days agree to pay all collection costs,
         including reasor.ible attorrey's fees. Contact us to correct payrrent errors. No adjustrrents ,.;11 be rrode after 90 days. For more information on charges related to our services
         please consult ttJ.p://www.veritext.co,n'services/al~services/services-irlorrnation




        Remtto:                                                  Pay By ACH (Include invoice nurmers):                                           Invoice #: 6520435
        Veritext                                                           A/C Name:Veritext                                                  Invoice Date: 4/26'2023
        P.0 . Box 71303                                               Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                   Bank.Addr:311 W. Monroe C hicago, IL 60606                                   Balance Due: $820.00
        Fed. Tax ID:                                              Account No          ABA:071000288
                                                                           Swift: HATR US44
                                                                      Pay by Credit Card: www.veritext.com


42i59
        Case 2:21-cv-00799-RSM                      Document 482-1               Filed 06/17/25              Page 45 of 46



ST44 Rev. 10123
Derived from AO44 Rev. 10123
                                        UNITED STATES DISTRICT COURT
                                          ·w estern District of Washington
                                                        Invoice No.: 20250810

 Jessika Fabian                                                                 MAKE CHECKS PAYABLE TO:
 Morrison Foerster                                                     Debbie Zurn
 425 Market Street                                                     RM R, CRR, CBC
 San Francisco, CA941 05                                               700 Stewart Street
                                                                       Suite 17205
                                                                       Seattle, WA 98101
                                                                       (20G) 370-8504
                                                                       debbie _ zum @wawd.uscourts.gov
                                                                       Tax ID:
                                             I DATE ORDERED:
                                                                                         I DATE DELIVERED   05-16-2025
 -    CRIMINAL              -X CIVIL                           05-07-2025
 In the matter of: C21-00799-RSM, Utherverse Gaming v Epic Games

 Final invoice for realtime roughs provided for trial scheduled the week of May 12th, 2025.




                            ORIGINAL                            18 ' COPY                ADDITIONAL COPY                  TOTAL
 CATEGORY
                   PAGES       PRICE    SUBTOTAL      PAGES       PRICE     SUBTOTAL   PAGES      PRICE       SUBTOTAL   CHARGES
30-Day
14-Day
7-Day
3-Day
Next-Day
2-Hour
Realtime             1004        3.70 3714.80                                                                              3714.80
Misc.                                                                                                 Misc. Charges
                                                                                                              Subtotal     371 4.80
                                                                                   Less Discount for Late Delivery
                                                                                                  Tax (If Applicable)
Date: 05-16-2025                  Check:                                                  Less Amount of Deposit           1500.00
                                                                                                        Total Refund
                                                                                                             Total Due     221 4.80
                                                ADDITIONAL INFORMATION
          Full price may be charged only if the transcript is delivered within the required time frame. For example, if an
order for exped ited transcript is not completed and delivered within (7) calendar days, payment would be at the 14-day
delivery rate. and if not completed and delivered within 14 days, payment would be at the ordinary delivery rate.
                                                       CERTIFICATION
          I certify that the transcript fees charged and page format used comply with the requirements of this court and
the Judicial Conference of the United States.
SIGNATURE.                                                                               IDATE:
                                                                                                            05-20-2025
Debbie Zurn
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    Case 2:21-cv-00799-RSM                         Document 482-1            Filed 06/17/25         Page 46 of 46




 United Litigation Discovery Inc
 550 California St, Suite 475
 San Francisco, CA 94104                                 UNITED LITIGATION
                                                           DISCOVERY
 Otlice: 415.999.1335      TIN




     Susan Griffin                                                           Susan Griffin
     Morrison Foerster                                                       Morrison Foerster
     425 Market Street                                                       425 Markel Street
     San Francisco, CA 94105-2482                                            San Francisco, CA 94105-2482




   Tech Time       Technical Time                                              11.5                      85.00      977.50
Electronic Label   Pagination                                                  6,184                      0.02      123.68
      OCR          OCR                                                         6,184                      0.03      185.52

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                   Stamp/Pagination/OCR.

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           United Litigation Discovery lnc.                 Bank Routing Number: I 2 l042882                     $1.286.70
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              San Francisco, CA 94104                        Email: accounting@unitedlit.com

Signature: _______________________ Date: _ _ _ _ __
